     Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 1 of 66 Page ID #:1



 1 Derek A. Newman, State Bar No. 190467
   dn@newmanlaw.com
 2 Sarah L. Forney, State Bar No. 254769
 3 sf@newmanlaw.com
   Newman Du Wors LLP
 4 100 Wilshire Blvd., Suite 700
   Santa Monica, CA 90401
 5 Telephone:     (310) 359-8200
 6 Facsimile:     (310) 359-8190

 7 Counsel for Plaintiff
   Conversion Logic, Inc.
 8
                        UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
10
11 CONVERSION LOGIC, INC., a                    Case No. 2:19-cv-05546
   Delaware corporation,
12                                              COMPLAINT FOR INJUNCTIVE
            Plaintiff,                          RELIEF AND DAMAGES
13
14     v.                                       DEMAND FOR JURY TRIAL

15 MEASURED, INC., a Delaware
   corporation; TREVOR TESTWUIDE,
16 an individual; MADAN BHARADWAJ,
   an individual; and ANTONIO
17 MAGNAGHI, an individual,
18           Defendants.
19
20
21        Under 28 U.S.C. § 1331 (federal question) and 18 U.S.C. § 1836 et seq.
22 (Defend Trade Secrets Act of 2016), Plaintiff Conversion Logic, Inc. alleges for its
23 complaint against Defendants Measured, Inc., a Delaware corporation, Trevor
24 Testwuide, an individual, Madan Bharadwaj, an individual, and Antonio Magnaghi,
25 an individual, on personal information as to Conversion Logic’s owns activities,
26 and upon information and belief as to the activities of others, as follows:
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                                          COMPLAINT
     Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 2 of 66 Page ID #:2



 1                                  INTRODUCTION
 2             Plaintiff Conversion Logic offers software and services that provide
 3 businesses with insight about which marketing efforts generate a return on
 4 investment in the form of actual customer purchases.
 5             To develop its proprietary system, Conversion Logic invested over
 6 $25 million in research and development. In addition, Conversion Logic created a
 7 set of confidential business, scientific, technical, economic, and engineering
 8 information—including patterns, plans, compilations, program devices, formulas,
 9 designs, prototypes, specifications, methods, techniques, capabilities, processes,
10 procedures, programs, and codes—which Conversion Logic has taken many
11 cautious and protective measures to keep secret.
12             Defendant Trevor Testwuide was Conversion Logic’s CEO. Defendants
13 Madan Bharadwaj and Antonio Magnaghi were Conversion Logic’s formal
14 advisors.
15             While at Conversion Logic, Testwuide, Bharadwaj, and Magnaghi each
16 had access to all of Conversion Logic’s scientific and technical trade secrets. Those
17 include confidential and proprietary information related to Conversion Logic’s
18 machine-learning-based techniques, methodologies, and data-science models. They
19 also had access to Conversion Logic’s sales-related trade secrets including
20 confidential customer and sales information such as current and prospective
21 customer lists, contact information, pricing information, and contracts.
22             Defendants Testwuide, Bharadwaj, and Magnaghi each agreed not to use
23 or disclose Conversion Logic’s confidential, proprietary, or trade secret
24 information.
25             Defendants Testwuide and Bharadwaj also both agreed not to solicit any
26 Conversion Logic employees or Conversion Logic customers.
27             In 2017, Conversion Logic offered Testwuide a generous separation
28 agreement, including a windfall of both accelerated stock options and forgiveness of
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                                         COMPLAINT
     Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 3 of 66 Page ID #:3



 1 a several-hundred-thousand-dollar loan. In exchange, Conversion Logic
 2 requested—and Testwuide agreed—that he not disparage the company, solicit
 3 customers, advisors, or employees, or use Conversion Logic’s information and
 4 trade secrets.
 5             Yet Testwuide and Bharadwaj stole and used Conversion Logic’s trade
 6 secrets, confidential and proprietary information, and intellectual property for the
 7 purpose of starting a competing venture, including both before and during
 8 Testwuide’s negotiation for a separation agreement.
 9             Testwuide represented falsely during that negotiation that he had not
10 used Conversion Logic’s trade secrets—knowing full well that he had. He
11 concealed that he had created a competing company and solicited a Conversion
12 Logic advisor—while agreeing to terms prohibiting such violations. Conversion
13 Logic relied on his representations, which induced it to agree to the separation
14 agreement.
15             In 2017, within mere weeks of Testwuide’s leaving the company,
16 Testwuide and Bharadwaj started Defendant Measured to compete against
17 Conversion Logic by using the trade secrets they stole from it. Defendant
18 Magnaghi joined them and used Conversion Logic’s trade secrets to help build
19 Measured.
20             Testwuide and Bharadwaj also solicited Conversion Logic’s customers
21 and former employees in violation of their agreements.
22             Finally, in direct violation of his separation agreement, Testwuide has
23 repeatedly disparaged Conversion Logic, including to Conversion Logic’s investors
24 and potential investors as well as customers, about Conversion Logic’s technology
25 and products. Ironically, Testwuide and Measured made these disparaging
26 statements about Conversion Logic to promote and differentiate the Measured
27 product—which in truth is based entirely on Conversion Logic’s technology.
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                                         COMPLAINT
     Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 4 of 66 Page ID #:4



 1             Conversion Logic files this lawsuit to recover damages from, among
 2 other things, Defendants’ misappropriation of trade secrets, breaches of contract,
 3 and fraud. Conversion Logic also seeks an injunction to stop Defendants’
 4 misappropriation of its trade secrets.
 5                                        PARTIES
 6             Plaintiff Conversion Logic, Inc. is a Delaware corporation qualified to do
 7 business in California with its principal place of business at 12300 Wilshire
 8 Boulevard, Suite 200, Los Angeles, CA 90025.
 9             Defendant Measured, Inc. is a Delaware corporation qualified to do
10 business in California with its principal place of business at 3023 Glenn Avenue,
11 Santa Monica, CA 90405.
12             Defendant Trevor Testwuide is an individual who resides in Los Angeles
13 County, California.
14             Defendant Madan Bharadwaj is an individual who resides in Billerica,
15 Massachusetts. Bharadwaj frequently travels to Los Angeles County, California in
16 connection with his duties as Defendant Measured’s Chief Technology Officer.
17             Defendant Antonio Magnaghi is an individual who resides in Los
18 Angeles County, California.
19                            JURISDICTION AND VENUE
20             This Court has subject-matter jurisdiction under 28 U.S.C. § 1331
21 because this case presents a federal question under the trade-secret laws of the
22 United States, 18 U.S.C. § 1836 et seq. This Court has supplemental jurisdiction
23 over the state-law claims under 28 U.S.C. § 1367(a) because they are so related to
24 claims in the action within the Court’s original jurisdiction that they form part of
25 the same case or controversy under Article III of the United States Constitution.
26             This Court has personal jurisdiction over Defendant Measured because
27 Measured has its principal place of business in Santa Monica, California, so it has
28 systematic and continuous contacts with California.
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                                         COMPLAINT
     Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 5 of 66 Page ID #:5



 1             This Court has personal jurisdiction over Defendant Testwuide because
 2 he resides in Los Angeles County, California, so he has systematic and continuous
 3 contacts with California. The Court also has personal jurisdiction over Testwuide
 4 because he purposefully directed wrongful activities within California and with
 5 Plaintiff Conversion Logic in California by stealing Conversion Logic’s trade
 6 secrets from its office and computers in Los Angeles, California. Testwuide also
 7 consummated a transaction in California with Conversion Logic by executing a
 8 separation agreement in California that he breached in California. Conversion
 9 Logic’s claims raised in this complaint all arise out of and are related to
10 Testwuide’s California-related activities.
11             This Court has personal jurisdiction over Defendant Bharadwaj because
12 he is the Chief Technology Officer of Defendant Measured, Inc., which is based in
13 California and which he visits frequently—constituting systemic and continuous
14 contact with California. The Court also has personal jurisdiction over Bharadwaj
15 because he purposefully directed wrongful activities within California and with
16 Plaintiff Conversion Logic in California by stealing Conversion Logic’s trade
17 secrets from its office and computers in Los Angeles, California. Bharadwaj also
18 consummated a transaction in California with Conversion Logic by executing an
19 agreement in California that he breached in California. Conversion Logic’s claims
20 raised in this complaint all arise out of and are related to Bharadwaj’s California-
21 related activities.
22             This Court has personal jurisdiction over Defendant Magnaghi because
23 he resides in Los Angeles County, California, so he has systematic and continuous
24 contacts with California. The Court also has personal jurisdiction over Magnaghi
25 because he purposefully directed wrongful activities within California and with
26 Plaintiff Conversion Logic in California by stealing Conversion Logic’s trade
27 secrets from its office and computers in Los Angeles, California. Conversion
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                                          COMPLAINT
     Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 6 of 66 Page ID #:6



 1 Logic’s claims raised in this complaint arise out of and are related to Magnaghi’s
 2 California-related activities.
 3             Venue is proper in this Court under 28 U.S.C. § 1391(b) and (c) because
 4 Measured has its principal place of business in Los Angeles County, transacts
 5 business here, and is subject to personal jurisdiction here. Venue is also proper in
 6 this Court because both Testwuide and Magnaghi reside in and are subject to
 7 personal jurisdiction in this district. Finally, venue is proper in this Court because
 8 the events giving rise to Conversion Logic’s claims, including misappropriation of
 9 trade secrets and other tortious and wrongful acts, occurred in Los Angeles
10 County.
11                              FACTUAL BACKGROUND
12
      A.   Conversion Logic’s business depends on its proprietary machine-learning
13         techniques, models, and software, and its confidential customer and sales
14         information.
15             Plaintiff Conversion Logic offers professional services and proprietary
16 software to measure its customers’ marketing performance across multiple media.
17 With its services, Conversion Logic’s customers gain insight into how many of
18 their own users become paying customers—which is called “conversion.”
19             In addition to its core product, Conversion Logic offers marketing
20 measurement, analytics, planning, simulation, and optimization services and
21 software.
22             Conversion Logic’s unique capabilities are due to proprietary software
23 that performs automated data collection, processing, and transformation.
24             Conversion Logic analyzes massive data sets collected from
25 communication and interactions across several marketing channels, such as
26 television, radio (traditional and digital), catalogue, direct and shared mail, online
27 search, promotional emails, and social media. It uses its proprietary software to
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                                          COMPLAINT
     Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 7 of 66 Page ID #:7



 1 compile, analyze, and model this information to reveal how each marketing
 2 touchpoint comparatively results in customers buying products online or in stores.
 3             Founded in 2014 under the name “Data Cloud Inc.,” Conversion Logic
 4 spent several years and invested over $25 million dollars to develop its business,
 5 including its proprietary machine-learning processes, techniques, models, and
 6 software.
 7             Now, Conversion Logic has an international presence with clients
 8 spanning the globe, including major brand-name customers such as Microsoft,
 9 General Motors, SoFi, and Twilio.
10             Conversion Logic’s confidential machine-learning processes and
11 techniques include proprietary applications of various machine-learning and data
12 analytics. These include, by way of example, “follow-the-regularized-leader”
13 (FTRL) algorithms, predictive “time series” algorithms, gradient-boosting
14 machine (GBM) algorithms, linear-regression methods, and neural networks.
15             Conversion Logic uses these machine-learning processes and techniques
16 within different proprietary models or frameworks, including proprietary
17 “ensemble” methods that combine multiple base techniques (e.g. FTRL and time-
18 series algorithms) into one predictive model.
19             Conversion Logic has developed proprietary software capable of
20 displaying the predictive results of its machine-learning techniques and models.
21             The software is compatible with a wide variety of standard marketing
22 tools.
23             Conversion Logic derives economic value from its proprietary machine-
24 learning processes, techniques, models, and software. Its proprietary machine-
25 learning processes, techniques and models, and its proprietary software, allow
26 Conversion Logic to differentiate itself from competition in the marketplace.
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                                         COMPLAINT
     Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 8 of 66 Page ID #:8



 1             Conversion Logic’s processes, techniques and models—and its
 2 proprietary software—allow Conversion Logic to attract new customers and
 3 revenue and facilitate its ongoing services.
 4             Conversion Logic’s proprietary machine-learning processes, techniques,
 5 models, and software have been recognized as uniquely innovative.
 6             In 2016, Conversion Logic’s “XC Logic” platform was selected for
 7 Digiday’s 2016 Signal Award for the “Best Marketing Analytics/Attribution
 8 Platform” due to its innovative approach.
 9             In 2017, Forrester Research recognized Conversion Logic as a “Breakout
10 Vendor” in marketing measurement and optimization solutions.
11             Conversion Logic’s proprietary machine-learning processes, techniques,
12 models and software are not generally known to the public nor to others who can
13 obtain economic value from its disclosure or use. From its outset, Conversion
14 Logic has protected the confidentiality of its machine-learning processes,
15 techniques, models, and software by, among other things, requiring each of its
16 employees to sign confidentiality agreements as a condition of their employment.
17             Since its founding, Conversion Logic has maintained a practice of
18 restricting access to the databases in which its proprietary processes, techniques,
19 models, and software are developed through secure password-protected software.
20             Conversion Logic’s materials describing these processes, techniques,
21 models, and software are stored in secure password-protected company databases,
22 with restricted and password-protected employee access, and have been stored this
23 way since before Testwuide joined the company.
24             Conversion Logic has also consistently required any third party with a
25 legitimate interest in viewing these aspects of the technology to sign a non-
26 disclosure agreement. This includes potential customers, third-party vendors,
27 potential investors, consultants, and advisors, including Bharadwaj and Magnaghi.
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                                         COMPLAINT
     Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 9 of 66 Page ID #:9



 1             From its outset, Conversion Logic developed and maintains non-public
 2 databases of information relating to its customers and prospective customers, as
 3 well as non-public sales information such as account contacts, pricing information,
 4 contract details, subscription agreements, revenues, and other customer
 5 relationship information.
 6             For years, Conversion Logic has maintained its non-public sales
 7 information in Salesforce.com, a Customer Relationship Management database,
 8 with restricted and password-protected access.
 9             Conversion Logic maintains additional non-public sales information in
10 other non-public databases, and this information has been stored in such a manner
11 since before Testwuide joined the company.
12             Each of these systems is password-protected and access is restricted to
13 Conversion Logic employees who have a reason to access, and have been protected
14 in this way since before Testwuide joined the company.
15             Conversion Logic’s sales and customer information is not generally
16 known to the public and is not disclosed to those who could obtain economic value
17 from its disclosure or use.
18             Conversion Logic’s non-public sales information provides it with a
19 competitive advantage. It enables Conversion Logic to build and leverage its
20 goodwill in the community and lower its cost of customer acquisition. These
21 records are used to generate new business to provide revenue for Conversion Logic
22 and to facilitate ongoing services to its current customer base.
23             The confidential identity of, and information concerning, Conversion
24 Logic’s customers is critical to Conversion Logic’s business.
25             Conversion Logic protects the confidentiality of its customer and sales
26 records in Salesforce.com and other databases by, among other things, requiring its
27 employees to sign employment contracts that include strict confidentiality
28
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                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 10 of 66 Page ID #:10



 1 provisions and by restricting access to these records through secure, password-
 2 protected software and tools.
 3 B.    Testwuide had access to Conversion Logic’s confidential and proprietary
 4       trade secrets and agreed not to use or disclose this information.

 5            Defendant Testwuide joined Conversion Logic as CEO on May 1, 2014.
 6            Although Testwuide was not a founding member of Conversion Logic,
 7 he was granted a “Co-Founder” title upon joining the company.
 8            As a condition of his employment with Conversion Logic (operating
 9 under the name Data Cloud, Inc. at the time), Testwuide signed a
10 “Confidentiality, Inventions and Non-Solicitation Agreement” on May 1, 2014.
11            In his Confidentiality Agreement, Testwuide agreed not to use or
12 disclose any confidential or proprietary information of the company—a term that
13 survives his employment with Conversion Logic:
14          Employee acknowledges that the Confidential Information (as
15          defined below) constitutes a protectable business interest of the
            Company, and covenants and agrees that at all times during the
16          period of Employee’s employment, and at all times after
17          termination of such employment, Employee will not, directly or
            indirectly, disclose, furnish, make available or utilize any
18
            Confidential information other than in the course of performing
19          duties as an employee of the Company . . . Employee’s obligations
20          under this Section 1.a. with respect to particular Confidential
            Information will survive expiration or termination of this
21          Confidentiality, Inventions and Non-Solicitation Agreement (this
22          “Agreement”), and Employee’s employment with the Company,
            and will terminate only at such time (if any) as the Confidential
23          Information in question becomes generally known to the public
24          other than through a breach of Employee’s obligations under this
            Agreement.
25
26            Testwuide also agreed that, upon termination of employment, he would
27 return all confidential information to Conversion Logic, including Conversion
28 Logic’s property:
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                                        COMPLAINT
 Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 11 of 66 Page ID #:11



 1             Employee will leave with, or promptly return to, the Company all
               documents records notebooks, magnetic tapes, disks or other
 2             materials, including all copies in Employee’s possession or control
 3             which contain Confidential Information or any other information
               concerning the Company, any of its Affiliates or any of its or their
 4             products, services or clients, whether prepared by the Employee or
 5             others.
 6
                 To the extent that Testwuide developed any inventions, discoveries,
 7
     improvements or concepts related to the technological aspects of Conversion
 8
     Logic’s product offering, Testwuide, assigned all of these inventions to Conversion
 9
     Logic under the terms of his Confidentiality Agreement.
10
                 In addition to these confidentiality and assignment provisions,
11
     Testwuide agreed not to solicit, for one year after termination of his employment,
12
     any Conversion Logic employee or any individual or entity that was a customer or
13
     vendor of the company. Specifically, in the Confidentiality Agreement, Testwuide
14
     agreed:
15
16         a. Employee will not, during the term of Employee’s employment with the
              Company and for one year thereafter (the “Restricted Period”), directly
17            or indirectly (whether as an owner, partner, shareholder, agent, officer,
18            director, employee, independent contractor, consultant, or otherwise)
              with or through any individual or entity:
19
20                    i.    Employ, engage or solicit for employment any individual who
                            is, or was at any time during the twelve-month period
21                          immediately prior to the termination of Employee’s
22                          employment with the Company for any reason, an employee of
                            the Company or any of its Affiliates or otherwise seek to
23                          adversely influence or alter such individual’s relationship with
24                          the Company or any of its Affiliates;
25
                      ii.   Solicit or encourage any individual or entity that is, or was
26                          during the twelve-month period immediately prior to the
27                          termination of Employee’s employment with the Company for
                            any reason, a prospective Affiliate of the Company or a
28                          customer or vendor or prospective customer or vendor of the
                                               11
                                            COMPLAINT
 Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 12 of 66 Page ID #:12



 1                          Company or any of its Affiliates to terminate or otherwise alter
                            his, her or its relationship with the Company or any of its
 2                          Affiliates; or
 3
              b. The Restricted Period shall be extended for a period equal to any time
 4               period that Employee is in violation of this Section 5.
 5
                 Testwuide agreed to assign to Conversion Logic any inventions that
 6
     relate to Conversion Logic’s business and that are developed within one year
 7
     following the termination of his employment with Conversion Logic.
 8
                 Testwuide was regularly present in Conversion Logic’s physical office
 9
     and had access to Conversion Logic’s confidential and proprietary information and
10
     intellectual property.
11
                 As CEO, Testwuide oversaw all functions within the business.
12
     Testwuide has unfettered access to all company materials, both physical and
13
     digital. This included access to:
14
                Conversion Logic’s confidential and proprietary information and
15
                 materials related to the research and development of its machine-
16
                 learning processes, techniques, algorithms, predictive models,
17
                 mathematical computations, and patent applications;
18
                Conversion Logic’s confidential and proprietary information and
19
                 materials related to the engineering, development and implementation of
20
                 Conversion Logic’s product platform and solution offerings;
21
                Conversion Logic’s confidential and proprietary information and
22
                 materials related to its customer and prospective customer relationships,
23
                 product pricing, contract pricing, and other confidential contract terms
24
                 and conditions;
25
                Conversion Logic’s key confidential and proprietary business strategy
26
                 documents, including its go-to-market plans, product roadmaps, business
27
                 planning, financial planning, board meetings, and fundraising strategy
28
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                                            COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 13 of 66 Page ID #:13



 1            and efforts, including venture capital contacts.
 2            As part of Conversion Logic’s measures to secure and protect its
 3 confidential and proprietary information, when Testwuide joined Conversion
 4 Logic, he was provided with a company laptop, which he could use to access
 5 Conversion Logic’s confidential and proprietary materials including password-
 6 protected databases.
 7            Testwuide had unfettered access to all of Conversion Logic’s engineers,
 8 data scientists, and product team members, along with access to all password-
 9 protected databases (including, for example, Dropbox, internal wikis, and ticketing
10 systems) in which information and materials relating to the machine-learning
11 techniques, algorithms, models, and product platform development are and were
12 maintained.
13            Testwuide had unfettered access to all of Conversion Logic’s sales
14 representatives and to all password-protected databases in which Conversion
15 Logic’s protected customer relationship and sales-related information are and were
16 maintained, including Salesforce.com, SmartSheets, and Google Drive network.
17            As CEO and President, Testwuide had unfettered access to all of
18 Conversion Logic’s executives, board members, consultants, and business
19 advisors, who shared with him confidential and proprietary information and
20 materials related to Conversion Logic’s business strategy.
21            As CEO and President, Testwuide was also responsible for guarding and
22 protecting the Company’s confidential and proprietary information. This
23 responsibility included requiring and enforcing Non-Disclosure Agreements with
24 third parties such as customers, vendors, advisors, and consultants. Testwuide was
25 responsible for the internal maintenance and enforcement of Conversion Logic’s
26 Confidentiality, Inventions, and Non-Solicitation Agreement, including by
27 requiring each new hire to sign this Agreement upon commencing their
28 employment.
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                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 14 of 66 Page ID #:14



 1             As CEO and President of Conversion Logic, Testwuide made
 2 discoveries, inventions, improvements, and other work product in connection with
 3 providing his services to Conversion Logic, all of which he assigned to Conversion
 4 Logic.
 5             The Confidentiality Agreement is a valid and enforceable agreement.
 6             At all times, Conversion Logic performed all obligations required of it
 7 under the Confidentiality Agreement.
 8             At no time was Testwuide’s performance under the Confidentiality
 9 Agreement excused.
10 C.    Testwuide received two-million shares of stock in Conversion Logic and a
11       $200,000 loan from the company before he was demoted as CEO in 2016.

12             Conversion Logic paid Testwuide a base salary of $150,000 per year,
13 along with a grant of the right to purchase restricted stock units.
14             On August 21, 2014, Testwuide was granted the right to purchase
15 2,000,000 shares of Conversion Logic’s common stock.
16             Immediately upon this grant, Testwuide exercised his right to purchase
17 all 2,000,000 shares of restricted common stock units.
18             Conversion Logic provided Testwuide with a loan in the amount of the
19 purchase price, $200,000. The loan to Testwuide was due on or before
20 August 21, 2017, including the principal and interest at 10% per annum.
21             During the course of his tenure with Conversion Logic, Testwuide made
22 no payments to Conversion Logic to offset the principal or interest of the loan.
23             In April 2016, out of dissatisfaction with Testwuide’s performance as
24 CEO, the Conversion Logic Board elected to terminate Testwuide as CEO.
25 Subsequently, it offered Testwuide the newly-formed role of President, effective
26 May 1, 2016.
27
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                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 15 of 66 Page ID #:15



 1             In a memorandum reflecting this decision, the Board of Directors
 2 confirmed that Testwuide would be held to the terms of his Confidentiality
 3 Agreement.
 4             Testwuide begrudgingly accepted the role of President and resigned
 5 from the Board of Directors.
 6             In his role as President, Testwuide reported to the new and current Chief
 7 Executive Officer, Brian Baumgart, Founder and Chairman.
 8             In Testwuide’s position as President of Conversion Logic, the scope of
 9 confidential and proprietary information that he had access to did not change. No
10 changes were made to Testwuide’s access privileges to Conversion Logic’s
11 protected databases in which its confidential and proprietary information and
12 materials were and are maintained.
13             In Testwuide’s role as President of Conversion Logic, he continued to
14 exercise discretionary authority to manage corporate affairs on Conversion Logic’s
15 behalf. In this role, he conducted business on Conversion Logic’s behalf, signed
16 binding agreements, hired consultants, and managed a team of sales employees.
17
   D. Madan Bharadwaj became a technical advisor and consultant to
18    Conversion Logic and agreed not to worked with competitors or to share
19    the trade secrets he had access to.
20             Madan Bharadwaj, a former colleague of Testwuide’s, began work with
21 Conversion Logic as a consultant and an advisor starting in June 2015.
22             On June 15, 2015, Bharadwaj signed an Advisor Agreement with
23 Conversion Logic to “consult with and advise Company from time to time, at
24 Company’s request, upon activities relating to advising and assisting with strategic
25 matters.”
26             In his Advisor Agreement, Bharadwaj covenanted not to use or disclose
27 Conversion Logic’s trade secrets and confidential proprietary information:
28
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                                         COMPLAINT
 Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 16 of 66 Page ID #:16



 1           Advisor agrees that all Inventions and other business, technical, and
             financial information (including, without limitation, the identity of
 2           and information relating to Company’s customers or employees)
 3           Advisor obtains from or assigns to Company, or learns in
             connection with the Services, constitute “Proprietary
 4           Information.” Advisor will hold in confidence and not disclose or,
 5           except in performing the Services, use any Proprietary
             Information…Upon termination or as otherwise requested by
 6
             Company, Advisor will promptly return to Company all items and
 7           copies containing or embodying Proprietary Information.
 8
                Bharadwaj assigned to Conversion Logic all intellectual property and
 9
     other ownership rights to any inventions, ideas, or information he developed in
10
     connection with his services to Conversion Logic:
11
12           Company shall own all right, title and interest (including patent
             rights, copyrights, trade secret rights, mask work rights, trademark
13           rights, sui generis database rights and all other intellectual and
14           industrial property rights of any sort throughout the world) relating
             to any and all inventions (whether or not patentable), works of
15           authorship, mask works, designations, designs, know-how, ideas
16           and information made or conceived or reduced to practice, in whole
             or in party, by Advisor that arise out of or in connection with the
17
             Services or any Proprietary Information (as defined below)
18           (collectively, “Inventions”) and Advisor will promptly disclose and
19           provide all inventions to Company. Advisor agrees to make and
             hereby makes all assignments necessary to accomplish the
20           foregoing.
21
                Bharadwaj further covenanted not to work for direct competitors of
22
     Conversion Logic and to take reasonable commercial efforts to inform Conversion
23
     Logic in the event a conflict of interest arises:
24
25           While this Agreement is in effect Advisor will not provide services
             to any company that directly competes with the business of
26           Company in the functional and business areas that the Advisor is
27           engaged with the Company…Company and Advisor acknowledge
             that companies change competitive focus from time to time and
28
                                               16
                                            COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 17 of 66 Page ID #:17



 1          they will each take commercially reasonable efforts to keep each
            other informed and help each other manage conflict of interest.
 2
 3             Bharadwaj agreed not to solicit Conversion Logic’s employees:
 4          Advisor agrees that during the term of this Agreement and for one
 5          year thereafter, Advisor will not encourage or solicit any employee
            or consultant of Company to leave Company for any reason.
 6
 7             In exchange for these promises, Bharadwaj received an option to
 8 purchase 30,000 shares of Conversion Logic’s common stock, vesting in
 9 June 2018. Bharadwaj currently retains these vested stock options. Conversion
10 Logic also agreed to reimburse Bharadwaj for expenses in connection with his
11 engagement.
12             As an advisor to Conversion Logic, Bharadwaj focused his services on
13 building upon Conversion Logic’s existing confidential and proprietary data
14 science efforts and other technical matters. Bharadwaj worked closely with
15 Conversion Logic employees, including its Chief Science Officer and Head of
16 Engineering, and their respective teams. His work heavily involved Conversion
17 Logic machine-learning methodologies, including methods for media attribution,
18 marketing measurement, analytics, user interface, and the development of
19 algorithms to capture these attributions.
20             As a technical advisor to Conversion Logic, Bharadwaj also served as a
21 sounding board to Conversion Logic to address issues and questions related to
22 projects and initiatives for existing and prospective clients.
23             Conversion Logic also retained Bharadwaj in a consulting capacity at
24 various times to assist with technical initiatives and customer-specific projects.
25             Conversion Logic retained Bharadwaj from September 2015 through
26 April 2016 to help create marketing and cross-channel attribution reports and to
27 develop methods for including certain algorithms and models in Conversion
28 Logic’s product platform, among numerous other tasks. This engagement was
                                             17
                                          COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 18 of 66 Page ID #:18



 1 memorialized in Bharadwaj’s September 24, 2015 Independent Contractor
 2 Agreement with Conversion Logic (“First Consulting Agreement”).
 3            In his First Consulting Agreement, Bharadwaj acknowledged his
 4 engagement would include exposure to Conversion Logic’s confidential and
 5 proprietary information. Bharadwaj agreed not to use or disclose this confidential
 6 information—a term that survives the First Consulting Agreement. He further
 7 agreed to return all materials containing proprietary information immediately upon
 8 the termination of his engagement.
 9            Bharadwaj assigned to Conversion Logic all rights and interests in any
10 discoveries or work product “made during the term of his engagement with
11 Company in connection with the performance of services for Company, whether
12 pursuant to this Agreement or otherwise.”
13            Conversion Logic retained Bharadwaj as a consultant again in June 2016
14 through June 2017. This engagement was memorialized in Bharadwaj’s
15 June 1, 2016 Consulting Services Agreement with Conversion Logic (“Second
16 Consulting Agreement”).
17            The Second Consulting Agreement was executed with Bharadwaj’s
18 consultancy firm “Right Measures Consulting.” Bharadwaj is the apparent
19 principal and sole owner of Right Measures Consulting.
20            The Second Consulting Agreement identifies no corporate form for
21 Right Measures Consulting. “Right Measures Consulting” is not a registered
22 business with the Secretary of the Commonwealth of Massachusetts, the California
23 Secretary of State, or the Secretary for the State of Delaware. Bharadwaj personally
24 signed the Second Consulting Agreement and provided the same address he had
25 provided in his Advisor Agreement, which he signed in his personal capacity.
26            Bharadwaj personally provided services related to Conversion Logic’s
27 work with one of its customers, HP.
28
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                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 19 of 66 Page ID #:19



 1            The engagement under the Second Consulting Agreement included
 2 technical services related to the modeling and design of Conversion Logic’s custom
 3 solution for HP. Bharadwaj was directly and deeply involved in this engagement.
 4            In the Second Consulting Agreement, Bharadwaj agreed not to use or
 5 disclose Conversion Logic’s confidential and proprietary information. Bharadwaj
 6 agreed not to:
 7
            (i) copy or reproduce the Confidential Information or sell, assign,
 8          license, sublicense, or transfer, in whole or in part, or disclose, the
 9          Confidential Information to any other person or entity, without the
            prior written consent of Conversion Logic;
10
            (ii) decompile, disassemble or reverse engineer any computer
11          program supplied to the Consultant as part of the Confidential
12          Information; or
13          (iii) incorporate the Confidential Information, or any portion
14          thereof, into information belonging to the consultant, without the
            prior, specific written consent of Conversion Logic in each instance.
15
16            Bharadwaj further agreed to assign all rights and interests in any work
17 product “arising out of or resulting from Consultant’s performance under this
18 Agreement.”
19            Beginning as early as June 15, 2015, Bharadwaj had access to Conversion
20 Logic’s confidential information, including trade secrets and proprietary
21 information related to Conversion Logic’s machine-learning-based processes,
22 techniques, methodologies, and data science models as well as software
23 development and design.
24            As an advisor and consultant to Conversion Logic, Bharadwaj visited
25 Conversion Logic’s office on several occasions between June 2015 and June 2017.
26            As an advisor and consultant to Conversion Logic, Bharadwaj was
27 granted physical and digital access to Conversion Logic technical information,
28 materials, and databases.
                                             19
                                          COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 20 of 66 Page ID #:20



 1            As an advisor and consultant to Conversion Logic, Bharadwaj made
 2 discoveries, inventions, improvements, and other work product in connection with
 3 providing his services to Conversion Logic, all of which he assigned to Conversion
 4 Logic.
 5            The Advisor Agreement is a valid and enforceable agreement.
 6            At all times, Conversion Logic performed all obligations required of it
 7 under the Advisor Agreement.
 8            At no time has Bharadwaj’s performance under the Advisor Agreement
 9 been excused.
10            At no time has Bharadwaj sought to terminate the Advisor Agreement.
11            Bharadwaj’s First Consulting Agreement is a valid and enforceable
12 agreement.
13            At all times, Conversion Logic performed all obligations required of it
14 under the First Consulting Agreement.
15            At no time has Bharadwaj’s performance of the surviving terms under
16 the First Consulting Agreement been excused.
17            The Second Consulting Agreement with Bharadwaj is a valid and
18 enforceable agreement.
19            At all times, Conversion Logic performed all obligations required of it
20 under the Second Consulting Agreement.
21            At no time has Bharadwaj’s performance of the surviving terms under
22 the Second Consulting Agreement been excused.
23 E.    Magnaghi became a technical advisor to Conversion Logic and agreed not
24       to worked with competitors or to share the trade secrets he had access to.

25            Antonio Magnaghi began work with Conversion Logic as an advisor
26 starting in August 2014.
27
28
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                                        COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 21 of 66 Page ID #:21



 1            On August 26, 2014, Magnaghi entered into an Advisory Services Letter
 2 Agreement with Conversion Logic (under the name Data Cloud, Inc. d/b/a
 3 Conversion Logic) to serve on its Board of Advisors.
 4            In his Advisor Agreement, Magnaghi covenanted not to use or disclose
 5 Conversion Logic’s trade secrets and confidential proprietary information:
 6          Agreement Not to Disclose. Advisor acknowledges that the
 7          Confidential Information (as defined below) constitutes a
            protectable business interest of the Company, and covenants and
 8          agrees that at all times during the period of Advisor’s Services, and
 9          at all times after termination of such Services, Advisor will not,
            directly or indirectly, disclose, furnish, make available or utilize any
10          Confidential information other than in the course of performing the
11          Services as an Advisor to the Company.
12                                            ***
            Advisor’s obligations under this Section 4(a) with respect to
13
            Confidential Information will survive expiration or termination of
14          this Agreement and Advisor’s Services. Advisor agrees to protect
15          and safeguard the secrecy of and avoid disclosure or use of
            Confidential Information of the Company and Advisor shall prevent
16          it from falling into the public domain or the possession of persons
17          other than those persons expressly authorized under this
            Agreement (if any) to receive any such Confidential Information.
18
19            Magnaghi assigned to Conversion Logic all intellectual property rights to
20 any inventions, ideas, or discoveries developed in the course of performing his
21 advisory services to Conversion Logic:
22          To the extent that, in the course of performing the Services,
23          Advisor conceives, develops, or reduces to practice any
            “Inventions” (defined below), whether or not patentable or
24          registrable under copyright or similar laws, Advisor hereby agrees to
25          assign all rights, title and interest to such Inventions to the
            Company; provided that this paragraph shall not apply to any such
26
            inventions or works conceived, developed or reduced to practice by
27          Advisor wholly independent of the Company or wholly outside the
28          scope of the Services.
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                                          COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 22 of 66 Page ID #:22



 1 In accordance with Magnaghi’s Advisory Agreement, “Inventions” include ideas,
 2 discoveries and developments that are:
 3         conceived or developed by Advisor during the term of this Agreement
 4         or Advisor’s Services or within one (1) year following termination of
           this Agreement and the Services which relate to or result from the
 5
           actual or anticipated business, work, research or investigation of the
 6         Company or any of its Affiliates or which are suggested by or result
 7         from any task assigned to or performed by Advisor for the company or
           any of its affiliates.
 8
 9             Magnaghi further covenanted that he would not violate any duty to
10 others and agreed to take reasonable commercial efforts to inform Conversion
11 Logic in the event a conflict of interest arises:
12          No Conflicts. Advisor represents that Advisor’s compliance with
13          the terms of this Agreement and provision of Services hereunder
            will not violate any duty which Advisor may have to any other
14          person or entity (such as a present or former employer), including
15          obligations concerning providing services to others, confidentiality
            of proprietary information and assignment of inventions, ideas,
16
            patents or copyrights, and Advisor agrees that Advisor will not do
17          anything in the performance of Services hereunder that would
18          violate any such duty. In addition, Advisor agrees that, during the
            term of this Agreement, prior to performing any services for or
19          otherwise participating in a company developing or
20          commercializing new services, methods or devices that may be
            competitive with the Company, Advisor shall first notify the
21          Company in writing. It is understood that in such event, the
22          Company will review whether Advisor’s activities are consistent
            with Advisor remaining a member of the Company’s Advisory
23
            Board.
24
25             In exchange for these promises, Magnaghi received an option to
26 purchase 15,000 shares of Conversion Logic’s common stock, vesting in
27 September 2017. Magnaghi currently retains these vested stock options.
28
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                                          COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 23 of 66 Page ID #:23



 1 Conversion Logic also agreed to reimburse Magnaghi for expenses in connection
 2 with his engagement.
 3             As an advisor to Conversion Logic, Magnaghi focused his services on
 4 building upon Conversion Logic’s existing confidential and proprietary data
 5 science efforts and other technical matters. Magnaghi worked closely with
 6 Conversion Logic employees, including its Chief Science Officer and Head of
 7 Engineering, and their respective teams. His work heavily involved Conversion
 8 Logic machine-learning methodologies, including methods for media attribution,
 9 marketing measurement, analytics, user interface, and the development of
10 algorithms to capture these attributions.
11             As a technical advisor to Conversion Logic, Magnaghi also served as a
12 sounding board to Conversion Logic to address issues and questions related to
13 projects and initiatives for existing and prospective clients.
14             As an advisor and consultant to Conversion Logic, Magnaghi visited
15 Conversion Logic’s office in Los Angeles on several occasions.
16             As an advisor and consultant to Conversion Logic, Magnaghi was
17 granted physical and digital access to Conversion Logic technical information,
18 materials, and databases.
19             As an advisor and consultant to Conversion Logic, Magnaghi made
20 discoveries, inventions, improvements, and other work product in connection with
21 providing his services to Conversion Logic, all of which he assigned to Conversion
22 Logic.
23             Magnaghi’s Advisor Agreement is a valid and enforceable agreement.
24             At all times, Conversion Logic performed all obligations required of it
25 under the Advisor Agreement.
26             At no time has Magnaghi’s performance under the Advisor Agreement
27 been excused.
28             At no time has Magnaghi sought to terminate the Advisor Agreement.
                                             23
                                          COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 24 of 66 Page ID #:24



 1 F.    Testwuide deceptively negotiated a Separation Agreement with
         Conversion Logic by not disclosing he had founded a directly competing
 2       company.
 3            Testwuide resigned from Conversion Logic on January 27, 2017.
 4            When Testwuide left Conversion Logic, he took with him confidential
 5 and proprietary Conversion Logic information including Conversion Logic’s
 6 technical and sales-related trade secrets.
 7            Upon leaving, Testwuide also took with him discoveries, inventions,
 8 improvements, and other work product that he had assigned to Conversion Logic.
 9         Before leaving Conversion Logic, Testwuide planned to take with him
10 this confidential and proprietary information and copied information from
11 Conversion Logic’s secured and password-protected databases onto his company-
12 issued laptop.
13            On or about February or March 2017, Testwuide returned a laptop to
14 Conversion Logic. This laptop was wiped of any information or files.
15          Testwuide destroyed, rather than return the Conversion Logic
16 confidential and proprietary information that was on this laptop. Testwuide also
17 destroyed all evidence of his theft of confidential and proprietary information that
18 he had copied from Conversion Logic’s secured and password-protected databases.
19           At the time of Testwuide’s departure, Conversion Logic CEO Baumgart
20 reiterated to Testwuide the importance of his obligations under the Confidentiality
21 Agreement. On January 24, 2017 Baumgart reminded Testwuide via email that he
22 had previously attempted to show Baumgart confidential materials from his former
23 employer, which Baumgart had refused. Baumgart advised Testwuide that similar
24 behavior with Conversion Logic’s confidential information could result in legal
25 action.
26            Testwuide sought to extract a favorable separation agreement from
27 Conversion Logic. These negotiations lasted from January through August 2017.
28
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                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 25 of 66 Page ID #:25



 1 But in those months, Testwuide founded a directly competing company based on
 2 stolen trade secrets with the assistance of an advisor he had solicited away from the
 3 company.
 4            During the course of negotiating his separation agreement, Testwuide
 5 intentionally and deceptively hid from Conversion Logic not only that he had stolen
 6 Conversion Logic’s trade secrets for the benefit of the competing company but also
 7 that he had co-founded this competing company with a Conversion Logic advisor
 8 that he had solicited. Instead, Testwuide negotiated separation terms that he had
 9 already violated and that he had no intention to abide by.
10            On January 26, 2017, in an email to Baumgart titled “Re: Thank you!”
11 Testwuide represented that he would agree to terms that included a provision “not
12 to solicit any Conversion Logic employees for 1 year.” On or around that date,
13 however, Testwuide had begun soliciting a Conversion Logic advisor, Madan
14 Bharadwaj, to co-found a competing company together with him.
15            On January 30, 2017, in an email to Baumgart, Testwuide represented
16 that he had “been extremely cooperative during this entire separation process.”
17            In further negotiations in July and August 2017, Testwuide purported to
18 negotiate the terms of his separation agreement in good faith. For example, on
19 August 11, 2017, while negotiating the terms of this agreement, in an email titled
20 “Thoughts on Next Steps,” Testwuide represented to Baumgart that he desired to
21 be a professional ally to Conversion Logic: “[O]f course I want to be a professional
22 ally to you and CL.” Testwuide further stated in that same email that both he and
23 Bharadwaj would be ambassadors for and support Conversion Logic, stating: “I do
24 think Madan and I can help, if nothing more as brand ambassadors eyes/ears in the
25 market.” Testwuide knew at the time that these representations were false. Both
26 he and Bharadwaj had already founded a company that competes directly against
27 Conversion Logic.
28
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                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 26 of 66 Page ID #:26



 1            Testwuide’s false statements were designed to deceive Conversion Logic
 2 and procure terms in his favor in the separation agreement. Had Conversion Logic
 3 known these representations were false, it would have behaved differently, not only
 4 in the course of negotiating Testwuide’s separation agreement but in seeking
 5 immediate recourse against at least Testwuide, Bharadwaj, and Measured.
 6            In this and all other communications throughout the course of
 7 negotiation his separation agreement, Testwuide continued to conceal that he had
 8 stolen Conversion Logic trade secrets and property, had already founded a
 9 competing company using that stolen information, and solicited a known
10 Conversion Logic advisor to co-found that directly competing company together
11 with him. These were facts that only Testwuide was in a position to know.
12 Testwuide intentionally kept the competing company secret by operating in stealth
13 mode. Conversion Logic could not have known of these facts. Had Conversion
14 Logic known these facts, it would have behaved differently.
15            In fact, Testwuide intended to protect himself in the event that
16 Conversion Logic found out about these facts. On August 24, 2017, in an email
17 titled “Agreement,” Testwuide sought to have the “Release of Claims” and
18 California Civil Code Section 1542 waiver provisions of the draft agreement apply
19 mutually, such that Conversion Logic would release all claims against him.
20 Testwuide knew that he had already violated his Confidentiality Agreement in
21 numerous ways and breached his fiduciary duty to the company. He attempted to
22 protect himself both by concealing these material facts from Conversion Logic and
23 by attempting to induce Conversion Logic to waive any such claims against him.
24            On August 31, 2017, Testwuide signed a Separation Agreement with
25 Conversion Logic.
26            In his Separation Agreement, Testwuide affirmatively acknowledged that
27 “during the course of Employee’s employment with the Company Employee had
28 access to a number of highly confidential materials.” Testwuide agreed not to use
                                           26
                                        COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 27 of 66 Page ID #:27



 1 or disclose Conversion Logic’s confidential and proprietary information in accord
 2 with the terms set forth in the Confidentiality Agreement:
 3         Employee reaffirms and agrees to observe and abide by the terms of
           the Confidentiality Agreement, specifically including the provisions
 4         therein regarding nondisclosure of the Company’s trade secrets and
 5         confidential and proprietary information… Employee specifically
           represents that Employee shall refrain from using any such
 6         confidential information in the future.
 7
 8            Testwuide disingenuously affirmed that he had returned all confidential
 9 and proprietary materials to Conversion Logic, including any property provided to
10 him:
11
            Employee affirms that Employee has returned all documents and
12          other items provided to Employee by the Company, developed or
13          obtained by Employee in connection with Employee’s employment
            with the Company, or otherwise belonging to the Company.
14
15            Testwuide reaffirmed his agreement to the terms of the Confidentiality
16 Agreement that he would not solicit anyone who had been an employee of
17 Conversion Logic for the preceding twelve months.
18            Testwuide further agreed not to disparage Conversion Logic.
19 Specifically, Testwuide, agreed to:
20
            refrain from any disparaging statements about the Company or any
21          of the other Releasees including, without limitation, the business,
22          products, intellectual property, financial standing, future, or
            employment/compensation/benefit practices of the Company.
23
24            In exchange for the covenants in his Separation Agreement, Conversion
25 Logic forgave the principal and interest payments owed under the 2014 Loan
26 Agreement, in the amount of $260,000. In addition, Conversion Logic accelerated
27 the vesting schedule for 125,000 unvested shares. Conversion Logic allowed
28 Mr. Testwuide to keep an aggregate of 1,375,000 shares of common stock.
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                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 28 of 66 Page ID #:28



 1             Conversion Logic’s forgiveness of Testwuide’s loan and acceleration of
 2 shares were contingent upon Testwuide’s “signing and not revoking this
 3 Agreement and otherwise fulfilling the material terms of this Agreement.”
 4             Conversion Logic would not have provided these benefits to Testwuide
 5 had Testwuide disclosed that he had stolen trade secrets from Conversion Logic
 6 and had formed a competing company using that stolen information and had
 7 solicited a Conversion Logic advisor to co-found that competing company together
 8 with him.
 9             If Conversion Logic had known about this material information that
10 Testwuide intentionally withheld while negotiating his Separation Agreement, it
11 would not have forgiven his loan or accelerated shares of common stock.
12             The Separation Agreement is a valid and enforceable agreement.
13             At all times, Conversion Logic performed any and all obligations
14 required of it under the Separation Agreement.
15             At no time was Testwuide’s performance under the Separation
16 Agreement excused.
17             Testwuide is a shareholder of Conversion Logic. Testwuide owes
18 Conversion Logic a fiduciary duty to deal with Conversion Logic in good faith.
19             Testwuide breached his fiduciary duty to Conversion Logic by failing to
20 negotiate his Separation Agreement with Conversion Logic in good faith, by
21 founding a directly competing company during his employment with Conversion
22 Logic, by using stolen Conversion Logic trade secrets to do so, and by keeping each
23 of these facts secret from Conversion Logic.
24 G. Testwuide and Bharadwaj stole Conversion Logic’s trade secrets to start
25    Measured, a competing company.

26             On or about February 2017, and at least by March 13, 2017, Testwuide
27 and Bharadwaj co-founded Measured, Inc.
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                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 29 of 66 Page ID #:29



 1            At that time, Testwuide and Bharadwaj together secretly founded
 2 Measured in “stealth” mode. Testwuide co-founded Measured within one month
 3 of his departure from Conversion Logic. Bharadwaj co-founded Measured during
 4 the period of his advisory engagement with Conversion Logic and during the term
 5 of his Second Consulting Agreement with Conversion Logic.
 6            Measured’s only founders are Testwuide and Bharadwaj.
 7            Measured, Inc. is a software company that offers a product to measure
 8 marketing performance across multiple marketing channels.
 9            Measured is a direct competitor to Conversion Logic. Both companies
10 offer cross-channel marketing measurement products and services including cross-
11 channel marketing and media analytics, cross-channel attribution, cross-channel
12 incrementality, scenario planning, simulation, and experimentation.
13            Measured was built based on confidential and proprietary information
14 that Testwuide and Bharadwaj stole from Conversion Logic.
15            Before leaving Conversion Logic, Testwuide engaged in conversations
16 with Conversion Logic’s customers to solicit them to become customers of
17 Measured, his new competing company.
18            Before leaving Conversion Logic, Testwuide also engaged in
19 conversations with Conversion Logic’s employees, consultants, and advisors, to
20 solicit them to become employees of Measured.
21            Testwuide was able to establish Measured so quickly after leaving
22 Conversion Logic—within a matter of weeks—because while at Conversion Logic,
23 he stole trade secrets, confidential and other proprietary information and
24 improperly solicited Conversion Logic employees, advisors, and customers.
25            On or about May 14, 2019, Measured emerged from stealth mode to
26 present its cross-channel marketing-measurement product publicly.
27            Measured describes its product offering using language that is extremely
28 similar to Conversion Logic. For example, on its website, Conversion Logic
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                                        COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 30 of 66 Page ID #:30



 1 describes one portion of its platform as providing: “Cross-Channel Insights”
 2 allowing a user to “Understand incrementality between channels.” Measured
 3 similarly explains on its website that its product focuses on “Cross-channel
 4 Attribution & Planning,” including “cross-channel reporting centralized in a single
 5 source-of-truth dashboard powered by advanced incrementality measurement.”
 6            In a publicly-available corporate video for Measured from April 2019,
 7 Bharadwaj speaks on Measured’s behalf as its Co-Founder and Chief Technology
 8 Officer. He confirms that Measured’s technology is based on Bharadwaj and
 9 Testwuide’s direct and first-hand exposure and experience with the technology
10 that was developed at and belongs to Conversion Logic. He states:
11          All the technology in Measured is born out of first-hand experiences
            working with brands on accurate and trusted cross-channel
12
            measurement. It became obvious to us that always-on
13          experimentation combined with a wholistic cross-channel
14          framework is the answer.

15            In this video, Bharadwaj goes on to state that the solution Measured
16 purports to offer is based on “many years working on the problem.”
17            Measured’s cross-channel marketing measurement product could not
18 have been built but for confidential and proprietary information that was developed
19 in the preceding several years at Conversion Logic. Testwuide and Bharadwaj had
20 access to and stole this confidential and proprietary information from Conversion
21 Logic and disclosed it to Measured to build a competing product.
22            Measured’s cross-channel marketing measurement product could not
23 have been built but for intellectual property and work product that Testwuide and
24 Bharadwaj developed at Conversion Logic and that properly belongs to Conversion
25 Logic.
26            Any inventions, ideas, discoveries, and work product that Testwuide
27 developed at Measured between January 2017 and January 2018 constitute
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                                        COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 31 of 66 Page ID #:31



 1 inventions that are rightfully owned by Conversion Logic and should have been
 2 assigned Conversion Logic in accord with his Confidentiality Agreement.
 3            Any inventions, ideas, discoveries, and work product that Bharadwaj
 4 developed at Measured constitute inventions that are rightfully owned by
 5 Conversion Logic and should have been assigned to Conversion Logic in accord
 6 with his Advisor Agreement and Second Consulting Agreement.
 7            Testwuide violated the terms of his Confidentiality Agreement and
 8 Separation Agreement by stealing Conversion Logic’s confidential and proprietary
 9 information and disclosing them to Measured.
10            Testwuide is in breach of his fiduciary duty of good faith in dealing with
11 Conversion Logic by founding a company that is a direct competitor to Conversion
12 Logic while he was employed at Conversion Logic.
13            Testwuide is in breach of his fiduciary duty of good faith in dealing with
14 Conversion Logic by misappropriating its trade secrets for the benefit of a direct
15 competitor while he was employed at Conversion Logic.
16            Bharadwaj violated the terms of his Advisor Agreement and Consulting
17 Agreements by stealing Conversion Logic’s confidential and proprietary
18 information and disclosing them to Measured.
19            Measured is unjustly enriched from the use of Conversion Logic’s
20 misappropriated trade secrets and other proprietary information.
21            Neither Measured nor either of its co-founders were required to invest in
22 developing Measured’s underlying technology because its technology is derived
23 from Conversion Logic’s.
24            Conversion Logic invested several years and over $25 million dollars to
25 independently develop its proprietary platform as well as its customer and sales
26 information. Measured gained an unfair advantage by stealing that proprietary and
27 confidential information from Conversion Logic. Measured was able to go to
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                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 32 of 66 Page ID #:32



 1 market more quickly and bore less risk in developing a business in a market that
 2 Conversion Logic had already established.
 3 H. Testwuide and Bharadwaj improperly solicited Conversion Logic
 4    employees and advisors to work for their direct competitor, Measured.

 5            Testwuide improperly recruited and solicited Bharadwaj to join him in
 6 co-founding Measured.
 7            Testwuide knew that Bharadwaj had been a consultant for and is an
 8 advisor to Conversion Logic. Testwuide himself executed Bharadwaj’s Advisor
 9 Agreement and Consulting Agreements on Conversion Logic’s behalf.
10            As part of Testwuide’s solicitation of Bharadwaj to become a co-founder
11 and employee of Measured, Testwuide conspired with Bharadwaj to steal
12 Conversion Logic’s trade secrets to start this new company. Testwuide concealed
13 this fact from Conversion Logic while in negotiations for his separation agreement
14 with them from January 2017 through August 2017. Testwuide further concealed
15 this fact from Conversion Logic by conspiring with Bharadwaj to launch Measured
16 in “stealth” mode.
17            Testwuide violated Section 5(a)(i) of his Confidentiality Agreement and
18 Section 11 of his Separation Agreement by soliciting Bharadwaj, a Conversion
19 Logic advisor and consultant, to become an employee of Measured. In so doing,
20 Testwuide sought to adversely influence or alter Bharadwaj’s relationship with
21 Conversion Logic.
22            Testwuide also violated Section 5(a)(ii) of his Confidentiality Agreement
23 and Section 11 of his Separation Agreement by soliciting Bharadwaj, a Conversion
24 Logic advisor and consultant, to become an employee of Measured. Bharadwaj was
25 not only an advisor to Conversion Logic but also a vendor. In soliciting Bharadwaj,
26 Testwuide sought to encourage him to terminate or otherwise alter his relationship
27 with Conversion Logic.
28
                                           32
                                        COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 33 of 66 Page ID #:33



 1            Testwuide is in breach of his fiduciary duty of dealing with Conversion
 2 Logic in good faith by soliciting a known advisor of Conversion Logic to work for a
 3 directly competing company.
 4            Bharadwaj improperly recruited and solicited Testwuide to join him in
 5 co-founding Measured.
 6            Bharadwaj knew that Testwuide had been an employee of Conversion
 7 Logic. Bharadwaj’s work with Conversion Logic involved frequent and regular
 8 contact with Testwuide, who had signed each of his Advisor Agreement and
 9 Consulting Agreements.
10            As part of Bharadwaj’s solicitation of Testwuide to become a co-founder
11 and employee of Measured, Bharadwaj conspired with Testwuide to steal
12 Conversion Logic’s trade secrets to found the company. Bharadwaj concealed this
13 fact from Conversion Logic by failing to disclose to Conversion Logic his work for a
14 direct competitor, as required by his Advisor Agreement. Bharadwaj further
15 concealed this fact from Conversion Logic by conspiring with Testwuide to launch
16 Measured in “stealth” mode.
17            Bharadwaj violated Section 4 of his Advisor Agreement and Section 10 of
18 his Second Consulting Agreement by recruiting Testwuide, a former employee of
19 Conversion Logic, to join Measured. In soliciting Testwuide, Bharadwaj sought to
20 encourage him to terminate his relationship with Conversion Logic. Bharadwaj did
21 so on or before April 2017, during the effective term of his Second Consulting
22 Agreement. Bharadwaj did not seek Conversion Logic’s written consent to solicit
23 Testwuide for employment with Measured.
24            Bharadwaj has also violated Section 1 of his Advisor Agreement and
25 Section 10 of his Second Consulting Agreement by engaging in work for and
26 providing services to a company known to Bharadwaj to be a direct competitor to
27 Conversion Logic. Bharadwaj joined a directly competing company while
28 continuing to serve as an advisor to Conversion Logic.
                                           33
                                        COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 34 of 66 Page ID #:34



 1            Both Testwuide and Bharadwaj improperly recruited and solicited other
 2 former Conversion Logic employees to become employees of Measured.
 3            Both Testwuide and Bharadwaj improperly solicited Dean Polley, a
 4 former employee of Conversion Logic, to become an employee of Measured.
 5            Conversion Logic hired Dean Polley on May 5, 2015 in the role of
 6 Advertiser Solutions. Polley remained in Conversion Logic’s continuous
 7 employment for the next two years. Polley’s last date of employment with
 8 Conversion Logic was May 26, 2017.
 9            On or before May 26, 2018, both Testwuide and Bharadwaj solicited
10 Polley to become an employee of Measured.
11            Polley currently works as a Solutions Analyst at Measured.
12            Testwuide has violated Section 5(a)(i) of his Confidentiality Agreement
13 and Section 11 of his Separation Agreement by soliciting Polley, who was known to
14 Testwuide to be a former Conversion Logic employee. Testwuide solicited Polley
15 within one year following the termination of his own employment with Conversion
16 Logic and within a year following Polley’s employment with Conversion Logic.
17 Testwuide’s improper solicitation of Polley extends the applicable Restrictive
18 Period of Section 5 of Testwuide’s Confidentiality Agreement.
19            Testwuide is in breach of his fiduciary duty of good faith in dealing with
20 Conversion Logic by soliciting a Conversion Logic employee to work for a direct
21 competitor.
22            Bharadwaj has violated Section 4 of his Advisor Agreement and
23 Section 10 of his Second Consulting Agreement by soliciting Polley, who was
24 known to him to be a former Conversion Logic employee. Bharadwaj solicited
25 Polley while serving as an Advisor to Conversion Logic. Bharadwaj solicited Polley
26 within one year following the termination of Bharadwaj’s Second Consulting
27 Agreement and within a year following Polley’s employment with Conversion
28
                                            34
                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 35 of 66 Page ID #:35



 1 Logic. Bharadwaj’s improper solicitation of Polley is a violation that extends the
 2 restrictive period of Section 10 of his Second Consulting Agreement.
 3             Both Testwuide and Bharadwaj improperly solicited Antonio Magnaghi,
 4 an advisor of Conversion Logic, to become an advisor for Measured.
 5             Magnaghi, who was brought on as an Advisor to Conversion Logic in
 6 August 2014, remains an advisor to Conversion Logic.
 7             Magnaghi currently serves as an advisor to Measured.
 8             Testwuide has violated Section 5(a)(ii) of his Confidentiality Agreement
 9 and Section 11 of his Separation Agreement by soliciting Magnaghi, who was
10 known to Testwuide to be a Conversion Logic advisor. Testwuide himself
11 negotiated the terms of Magnaghi’s Advisor Agreement with Conversion Logic.
12             Testwuide solicited Magnaghi within one year following the termination
13 of his own employment with Conversion Logic, at which time Magnaghi was still
14 an advisor to Conversion Logic. Testwuide’s improper solicitation of Magnaghi
15 extends the applicable Restrictive Period of Section 5 of Testwuide’s
16 Confidentiality Agreement.
17             Testwuide is in breach of his fiduciary duty of good faith in dealing with
18 Conversion Logic by soliciting a Conversion Logic advisor to work for a direct
19 competitor.
20             Bharadwaj has violated Section 4 of his Advisor Agreement and
21 Section 10 of his Second Consulting Agreement by soliciting Magnaghi, who was
22 known to him to be another advisor to Conversion Logic. Bharadwaj solicited
23 Magnaghi while both were serving as advisors to Conversion Logic. Bharadwaj
24 solicited Magnaghi within one year following the termination of Bharadwaj’s
25 Second Consulting Agreement. Bharadwaj’s improper solicitation of Magnaghi is a
26 violation that extends the restrictive period of Section 10 of his Second Consulting
27 Agreement.
28
                                             35
                                          COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 36 of 66 Page ID #:36



 1            Measured has been unjustly enriched by the improper acts of solicitation
 2 of each of its employees. Measured was unjustly enriched by Testwuide and
 3 Bharadwaj’s conspiracy to steal Conversion Logic’s trade secrets which included
 4 Testwuide’s solicitation of Bharadwaj and Bharadwaj’s solicitation of Testwuide.
 5 This enrichment occurred at the expense of Conversion Logic, which had invested
 6 years and over $25 million dollars in developing its proprietary technical and
 7 customer information.
 8 I.    Testwuide and Bharadwaj stole Conversion Logic’s customers for their
 9       competing company, Measured.
10            Testwuide, Bharadwaj, and Measured have stolen or attempted to solicit
11 and steal existing and potential customers from Conversion Logic using Conversion
12 Logic trade secrets, including customer relationship information, as well as sales
13 contracts and pricing information.
14            On April 1, 2016, AARP Services, Inc. became a customer of Conversion
15 Logic, as reflected in the terms of their Master Subscription Services Agreement.
16 AARP agreed to continue to be a customer of Conversion Logic until either party
17 terminated the AARP Master Agreement.
18            AARP was a prominent customer for Conversion Logic.
19            Testwuide has personal knowledge of and was directly involved in
20 Conversion Logic’s relationship with AARP, including knowledge of the terms of
21 its agreements such as pricing and services offered. Testwuide executed the AARP
22 Master Agreement on Conversion Logic’s behalf.
23            Bharadwaj, by nature of his ongoing advisory engagement and consulting
24 engagement with Conversion Logic, knew or would have reason to know of
25 Conversion Logic’s customer relationship with AARP.
26            Between April 2016 through January 2018, Conversion Logic executed
27 multiple sales orders with AARP to provide subscription and support services as
28 part of their ongoing relationship with AARP under the AARP Master Agreement.
                                            36
                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 37 of 66 Page ID #:37



 1 Testwuide executed several of these sales orders on Conversion Logic’s behalf
 2 while President of Conversion Logic.
 3            Bharadwaj, as an advisor to and consultant of Conversion Logic, was also
 4 aware of Conversion Logic’s customer relationship with AARP.
 5            AARP was a customer of Conversion Logic at least through March 2018,
 6 after the date of Testwuide’s termination.
 7            On or around the time of his departure from Conversion Logic,
 8 Testwuide stole Conversion Logic’s confidential and proprietary sales information
 9 related to the AARP account, including business contact information, contract
10 terms such as the AARP Master Agreement, and pricing information, among other
11 information.
12            On or about May 14, 2019, when Measured emerged from stealth mode,
13 it announced via press release and on the “Clients” page of its website that it had
14 numerous customers, and specifically featured its relationship with AARP.
15            On or before January 27, 2018, Testwuide solicited and encouraged
16 AARP to become a customer of Measured.
17            On or before June 1, 2018, Bharadwaj solicited and encouraged AARP to
18 become a customer of Measured.
19            At least by May 14, 2019, Testwuide and Bharadwaj together conspired
20 on Measured’s behalf to solicit and encourage AARP to become a customer of
21 Measured.
22            Testwuide and Bharadwaj, on Measured’s behalf, relied on stolen trade
23 Conversion Logic confidential and proprietary sales information related to the
24 AARP account to solicit and encourage AARP to become a customer of Measured.
25            Defendants intentionally interfered with Conversion Logic’s contract
26 and business relationship with AARP.
27
28
                                            37
                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 38 of 66 Page ID #:38



 1             Defendants have attempted to solicit and steal other existing and
 2 potential customers from Conversion Logic and have intentionally attempted to
 3 interfere with Conversion Logic’s contracts with other existing customers.
 4             Testwuide’s solicitation of AARP through misappropriated Conversion
 5 Logic trade secrets violates Section 3 of his Confidentiality Agreement, in which he
 6 covenanted not to use or disclose Conversion Logic’s trade secrets.
 7             By soliciting AARP, Testwuide also violated Section 5(a)(ii) of his
 8 Confidentiality Agreement, in which he covenanted not to solicit or encourage any
 9 Conversion Logic customer or entity that was a customer during the twelve-month
10 period prior to his termination. The Restricted Period controlling Section 5(a)(ii) of
11 Testwuide’s Confidentiality Agreement extends to at least January 27, 2018. The
12 Restricted Period also covers any time period in which Testwuide is in violation of
13 Section 5 of the Confidentiality Agreement.
14             Testwuide is in breach of his fiduciary duty of good faith in dealing with
15 Conversion Logic by using misappropriated trade secrets to solicit a known
16 customer of Conversion Logic.
17             Bharadwaj’s solicitation of AARP through misappropriated Conversion
18 Logic trade secrets violates Section 3 of his Advisor Agreement and Section 8 of his
19 Second Consulting Agreement, in which he covenanted not to use or disclose
20 Conversion Logic confidential trade secrets.
21             By soliciting AARP, Bharadwaj also violated Section 10(ii) of his Second
22 Consulting Agreement, in which he had covenanted not to solicit customers of
23 Conversion Logic, including for a period of one year following the termination of
24 his Second Consulting Agreement. This period extends to at least June 1, 2018.
25             Measured would not have established a sales relationship with AARP but
26 for the confidential information that Testwuide and Bharadwaj misappropriated
27 from Conversion Logic.
28
                                             38
                                          COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 39 of 66 Page ID #:39



 1             Measured would not have established a sales relationship with AARP but
 2 for Testwuide and Bharadwaj’s improper solicitation of known Conversion Logic
 3 customers.
 4             Measured has been and continues to be unjustly enriched by Conversion
 5 Logic’s misappropriated sales-related trade secrets, including but not limited to the
 6 AARP account.
 7             Measured also has been and continues to be unjustly enriched by
 8 Testwuide and Bharadwaj’s improper solicitation of Conversion Logic’s
 9 customers, including but not limited to AARP.
10             Measured’s unjust enrichment is at the expense of Conversion Logic,
11 which has invested many years over $25 million dollars in developing its
12 proprietary customer information, pricing, contracts, service offerings,
13 subscription offerings, and terms of service. Starting at least as early as April 2016,
14 Conversion Logic invested several years and significant resources in specifically
15 developing its custom product and service offerings to AARP over the course of its
16 business relationship.
17 J.     Testwuide improperly sought additional insider financial information
18        about Conversion Logic for the benefit of his competing company.

19             Testwuide’s attempts to take advantage of Conversion Logic
20 confidential information did not stop with his theft of trade secrets, employees, and
21 customers. Approximately a year-and-a-half after having founded a direct
22 competitor to Conversion Logic, Testwuide sought to gain improper advantage by
23 accessing Conversion Logic confidential financial information.
24             Testwuide attempted to leverage his shareholder status to obtain insider
25 financial information.
26             On August 13, 2018, Testwuide contacted Steve Dang, Conversion
27 Logic’s Chief Financial Officer. In this correspondence, Testwuide sought a
28
                                             39
                                          COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 40 of 66 Page ID #:40



 1 financial update on the company, including “a current income statement and
 2 balance sheet.”
 3             Dang responded clearly that Testwuide was not entitled to this
 4 information simply by nature of being a shareholder. Dang expressly confirmed that
 5 this information was considered to be confidential.
 6             Despite Dang’s clear statement that Testwuide was seeking confidential
 7 information, Testwuide pressed for more later that same day: “I should have
 8 information rights. What can you share?”
 9             Two days later, having investigated the issue further, Dang confirmed
10 again that the information Testwuide sought was confidential and that Conversion
11 Logic was “not able to share any financial info.”
12             Testwuide did not relent and, on August 20, 2018, again demanded
13 access to information. He claimed he was entitled to it “given my investment,
14 ownership position and contribution to Conversion Logic.”
15             Testwuide sought Conversion Logic’s confidential financial information
16 out of interest in furthering his competing company.
17             Testwuide is in breach of his fiduciary duty of good faith in dealing with
18 Conversion Logic by attempting to obtain confidential Conversion Logic financial
19 information for the benefit of his own competing company.
20 K.     Testwuide has repeatedly disparaged Conversion Logic both publicly and
21        privately.

22             Following his departure from Conversion Logic, Testwuide has
23 disparaged Conversion Logic both privately and publicly to Conversion Logic’s
24 detriment.
25             Testwuide privately disparaged Conversion Logic to both current and
26 potential investors, insulting its leadership and its board of directors. Testwuide
27 has called Conversion Logic’s financial stability and future into question.
28
                                             40
                                          COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 41 of 66 Page ID #:41



 1              In an email dated January 21, 2019, Testwuide wrote to an angel
 2 investor, Clark Landry, that ever since his January 2017 departure the company is
 3 very disappointing:
 4          As an industry insider still living in the marketing analytics category,
 5          it looks very disappointing what has happened to Conversion Logic
            over the last two years.
 6
 7              In this same email, Testwuide insults Conversion Logic’s leadership and
 8 performance: “I can say with certainty a lack of leadership and poor execution are
 9 at fault.”
10              Testwuide reminded the investor that he is a shareholder in Conversion
11 Logic when he made these remarks: “I will remain hopeful for some return on our
12 investment.”
13              Testwuide has similarly privately disparaged Conversion Logic to other
14 investors and potential investors.
15              Conversion Logic is a private company that relies on funding from
16 investors for its continued growth and success. Disparaging remarks about its
17 business operations, financial stability, leadership, and execution can be extremely
18 harmful to Conversion Logic’s ability to fundraise and maintain credibility with
19 potential investors. This is especially true when disparaging remarks come from a
20 shareholder in the company.
21              Testwuide, through his employer Measured, has also publicly disparaged
22 Conversion Logic.
23              On or about May 14, 2019, in a Measured press release, blasted
24 Conversion Logic’s business of multi-touch attribution. The article is titled
25 “Multi-touch Attribution is dead.”
26              Testwuide is directly quoted in the article denigrating Conversion
27 Logic’s business of multi-touch attribution. Testwuide describes it as plagued by
28 numerous technical and operational issues:
                                             41
                                          COMPLAINT
 Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 42 of 66 Page ID #:42



 1           The promise of marketing measurement beyond last-click has failed
             to deliver for marketers. Multi-touch attribution has been plagued
 2           by severe data reconciliation issues, walled garden blind spots, the
 3           collapse of third-party tracking, challenges of identity and GDPR,
             and painful on-boarding,” said Trevor Testwuide, co-founder and
 4           CEO at Measured.
 5
                 Testwuide is directly quoted claiming that cross-channel marketing
 6
     measurement—Conversion Logic’s business—is a failure: “Cross-channel
 7
     marketing has failed marketers.”
 8
                 Separately, on May 15, 2017, TechCrunch, a widely-read online
 9
     publication focused on the technology industry, published an article quoting
10
     Testwuide making further disparaging comments about Conversion Logic and its
11
     business.
12
                 Testwuide described multi-touch attribution, which is Conversion
13
     Logic’s business, as “a fool’s errand.” He stated this approach “has serious
14
     limitations.”
15
                 Both articles indicate that Testwuide was formerly the CEO and Co-
16
     Founder of Conversion Logic.
17
                 By making such disparaging and harmful remarks, Testwuide has
18
     violated Section 13 of his Separation Agreement, in which he agreed not to
19
     disparage Conversion Logic, including making disparaging statements about its
20
     “business, products, intellectual property, financial standing, [or] future . . .”
21
                 By disparaging Conversion Logic, Testwuide has violated his fiduciary
22
     duty of good faith in dealing with Conversion Logic.
23
                 Conversion Logic is harmed by Testwuide’s public disparaging remarks.
24
     Testwuide’s public comments are particularly damaging because they are
25
     presented in a context in which he is described as Conversion Logic’s former CEO.
26
     The context for these statements thus suggests his disparagement is credible and
27
     based on insider information.
28
                                              42
                                           COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 43 of 66 Page ID #:43



 1             Testwuide’s public disparaging remarks are also harmful because they
 2 are widely published and designed to be read by key members of the industry
 3 including potential investors, existing customers, and potential customers.
 4             Testwuide’s public and private disparaging statements have inflicted and
 5 will continue to inflict irreparable harm to Conversion Logic’s reputation and the
 6 goodwill that it has invested in developing with its customers, vendors, other third-
 7 party partners, as well as its investors and potential investors.
 8
                            FIRST CAUSE OF ACTION
 9    Misappropriation of Trade Secrets under 18 U.S.C. § 1836(b) and Cal. Civil
10                                  Code § 3426
                              (Against All Defendants)
11
               Conversion Logic incorporates the allegations set forth in paragraphs 1
12
     through 264 as though fully set forth herein.
13
               Conversion Logic is the owner of certain valuable, confidential and
14
     proprietary information, including but not limited to proprietary machine-learning
15
     processes, techniques, models, and software as well as non-public sales information
16
     relating to its customers and prospective customers, pricing information, contract
17
     details, subscription agreements, revenues, and other customer relationship
18
     information.
19
               This information constitutes trade secrets that enable Conversion Logic
20
     to conduct its business, serve customers, and maintain its competitive advantage in
21
     the market.
22
               Conversion Logic keeps this information secret; it is accessible only to
23
     parties with permission to view such information, only after they have agreed to
24
     contracts that include strict confidentiality provisions that require them not to use
25
     or disclose this information. Conversion Logic only makes this information
26
     available to these parties via secure, password-protected software and tools. Should
27
     these trade secrets be accessible to individuals or businesses outside of Conversion
28
                                             43
                                          COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 44 of 66 Page ID #:44



 1 Logic, they could be used to economically harm Conversion Logic and enrich the
 2 possessor.
 3            Measured is in possession of the foregoing trade secrets, which are
 4 subject to confidentiality agreements in which Conversion Logic’s employee
 5 Testwuide and advisors Bharadwaj and Magnaghi expressly acknowledged and
 6 confirmed their confidential and proprietary nature.
 7            During his employment, Testwuide had access to this trade secret
 8 information both physically and via a Conversion Logic-owned laptop computer
 9 and various Conversion Logic-owned and controlled databases and systems.
10            Upon his hiring, Testwuide agreed to the terms of his Confidentiality
11 Agreement, which prohibits the use and disclosure of Conversion Logic trade
12 secret information.
13            Testwuide misappropriated Conversion Logic’s trade secret information
14 at least at the date of his departure from Conversion Logic in January 2017.
15            Relying on the confidential, sensitive, and proprietary information he
16 gained during his employment with Conversion Logic, Testwuide co-founded a
17 directly competing company, Measured.
18            During his ongoing advisory engagement and multiple consulting
19 engagements with Conversion Logic, Bharadwaj also had access to this trade secret
20 information both physically and via various Conversion Logic-owned and
21 controlled databases and systems.
22            Upon each of his engagements, Bharadwaj agreed to the terms of this
23 Advisor Agreement and Consulting Agreements, each of which prohibit the use
24 and disclosure of Conversion Logic trade secret information.
25            Bharadwaj misappropriated Conversion Logic’s trade secret information.
26            Relying on the confidential, sensitive, and proprietary information he
27 gained during his engagements with Conversion Logic, Bharadwaj co-founded a
28 directly competing company, Measured.
                                           44
                                        COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 45 of 66 Page ID #:45



 1            During his advisory engagement with Conversion Logic, Magnaghi had
 2 access to Conversion Logic’s confidential, sensitive, and proprietary information
 3 both physically and via various Conversion Logic-owned and controlled databases
 4 and systems.
 5            Magnaghi agreed to the terms of his Advisory Services Letter
 6 Agreement, which prohibits the use and disclosure of Conversion Logic trade
 7 secret information.
 8            Magnaghi misappropriated Conversion Logic’s trade secret information.
 9            Testwuide’s misappropriation of Conversion Logic’s trade secrets has
10 caused significant damage to Conversion Logic’s trade secrets in an amount to be
11 determined at trial.
12            Bharadwaj’s misappropriation of Conversion Logic’s trade secrets has
13 caused significant damage to Conversion Logic’s trade secrets in an amount to be
14 determined at trial.
15            Magnaghi’s misappropriation of Conversion Logic’s trade secrets has
16 caused significant damage to Conversion Logic’s trade secrets in an amount to be
17 determined at trial.
18            Defendants have and continually will misappropriate Conversion Logic’s
19 trade secrets by using these trade secrets without authority to develop a directly
20 competing machine-learning based software product and to attempt to solicit
21 current and prospective customers away from Conversion Logic.
22            As a direct and proximate result of Defendants’ current and continued
23 misappropriation of Conversion Logic’s trade secrets, Conversion Logic will suffer
24 imminent and irreparable harm.
25            Unless enjoined by this Court, Defendants’ acts of misappropriation will
26 continue, and Conversion Logic will continue to suffer irreparable harm.
27            Conversion Logic requests that this Court enjoin Defendants from
28 utilizing any trade secret information obtained from Conversion Logic in any way.
                                            45
                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 46 of 66 Page ID #:46



 1            Defendants’ current and continued misappropriation of Conversion
 2 Logic’s trade secrets is reckless and malicious. Defendants know of the
 3 confidentiality, ownership and use restrictions on these trade secrets. Therefore,
 4 Conversion Logic is entitled to an award of punitive or treble damages and
 5 attorney’s fees pursuant to California Civil Code Sections 3426.3(c) and 3426.4.
 6
                            SECOND CAUSE OF ACTION
 7                               Breach of Contract
 8                              (Against Testwuide)

 9            Conversion Logic incorporates the allegations set forth in paragraphs 1
10 through 288 as though fully set forth herein.
11            Testwuide’s May 1, 2014 Confidentiality Agreement is a valid and
12 enforceable agreement.
13            At all times Conversion Logic performed all obligations required of it
14 under the Confidentiality Agreement.
15            At no time was Testwuide’s performance under the Confidentiality
16 Agreement excused.
17            Testwuide acknowledged that his obligations to maintain the
18 confidentiality of Conversion Logic’s trade secrets “will survive expiration or
19 termination of this Confidentiality, Inventions and Non-Solicitation Agreement
20 (this “Agreement”), and [Testwuide’s] employment with the Company . . .”
21            Testwuide breached the Confidentiality Agreement by stealing and
22 keeping in his possession Conversion Logic trade secrets and confidential and
23 proprietary information including both technical information such as proprietary
24 machine-learning techniques, models, and software, as well as non-public sales
25 information such as account contacts, pricing information, contract details,
26 subscription agreements, revenues after termination of his employment.
27
28
                                           46
                                        COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 47 of 66 Page ID #:47



 1            Testwuide breached the Confidentiality Agreement by refusing to return
 2 Conversion Logic’s materials in his possession that contain Conversion Logic
 3 confidential information, including his company-issued laptop.
 4            Testwuide breached the Confidentiality Agreement by soliciting both
 5 Bharadwaj, a known advisor to and consultant for Conversion Logic, and other
 6 former employees of Conversion Logic including Dean Polley.
 7            Testwuide breached the Confidentiality Agreement by soliciting Antonio
 8 Magnaghi, a known advisor to Conversion Logic, to become an advisor to
 9 Measured.
10            Testwuide breached the Confidentiality Agreement by soliciting
11 customers of Conversion Logic to become customers of Measured including but
12 not limited to AARP.
13            Testwuide breached the Confidentiality Agreement to the extent that he
14 developed discoveries or inventions while at Conversion Logic or in the year
15 following his employment and failed to promptly disclose and assign them to
16 Conversion Logic.
17            In addition, Testwuide’s August 2017 Separation Agreement is a valid
18 and enforceable agreement.
19            At all times Conversion Logic performed all obligations required of it
20 under the Separation Agreement.
21            At no time was Testwuide’s performance under the Separation
22 Agreement excused.
23            Testwuide breached the Separation Agreement by stealing and
24 misappropriating Conversion Logic’s trade secrets and confidential and proprietary
25 information including both technical information such as proprietary machine-
26 learning techniques, models, and software, as well as non-public sales information
27 such as account contacts, pricing information, contract details, subscription
28 agreements, revenues after termination of his employment.
                                            47
                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 48 of 66 Page ID #:48



 1             Testwuide breached the Separation Agreement by soliciting both
 2 Bharadwaj, a known advisor to and consultant for Conversion Logic, Antonio
 3 Magnaghi, a known advisor to Conversion Logic, and other former employees of
 4 Conversion Logic to become employees of Measured, including Dean Polley.
 5             Testwuide breached the Separation Agreement by disparaging
 6 Conversion Logic both privately and publicly, including to potential investors,
 7 customers, and others.
 8             As a direct and proximate result of each of Testwuide’s breaches of the
 9 Confidentiality Agreement and the Separation Agreement, Conversion Logic has
10 been harmed in an amount to be proven at trial.
11
                              THIRD CAUSE OF ACTION
12                                Breach of Contract
13                               (Against Bharadwaj)
14             Conversion Logic incorporates the allegations set forth in paragraphs 1
15 through 306 as though fully set forth herein.
16             Bharadwaj’s June 15, 2015 Advisor Agreement is a valid and enforceable
17 agreement.
18             At all times Conversion Logic performed all obligations required of it
19 under the Advisor Agreement.
20             At no time has Bharadwaj’s performance under the Advisor Agreement
21 been excused.
22             At no time has Bharadwaj attempted to terminate the Advisor
23 Agreement.
24             Bharadwaj agreed that he would hold in confidence Conversion Logic’s
25 trade secrets “not disclose or, except in performing the Services, use any
26 Proprietary information.”
27             Bharadwaj acknowledged that his obligations to maintain the
28 confidentiality of Conversion Logic’s trade secrets, along with his inventions-
                                            48
                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 49 of 66 Page ID #:49



 1 assignment and non-solicit obligations “and any remedies for breach of this
 2 Agreement shall survive any termination or expiration.”
 3            Bharadwaj breached the Advisor Agreement by stealing and
 4 misappropriating Conversion Logic’s trade secrets and confidential and proprietary
 5 information including both technical information such as proprietary machine-
 6 learning techniques, models, and software, as well as non-public sales information.
 7            Bharadwaj breached the Advisor Agreement by soliciting both
 8 Testwuide and other known employees of Conversion Logic to become employees
 9 of Measured, including Dean Polley.
10            Bharadwaj also breached the Advisor Agreement by soliciting Magnaghi,
11 a known advisor to Conversion Logic, to become an advisor to Measured.
12            Bharadwaj breached the Advisor Agreement by providing his services to
13 Measured, a company that directly competes with Conversion Logic and by failing
14 to keep Conversion Logic informed of this conflict of interest.
15            Bharadwaj breached the Advisor Agreement to the extent that he
16 developed inventions, works of authorships, mask works, designations, designs,
17 know-how, ideas or information arising from or in connection with his advisory
18 services to Conversion Logic and failed to promptly disclose and assign them to
19 Conversion Logic or otherwise claims them as his own.
20            Bharadwaj’s September 24, 2015 First Consulting Agreement is a valid
21 and enforceable agreement.
22            At all times Conversion Logic performed all obligations required of it
23 under the First Consulting Agreement.
24            At no time has Bharadwaj’s performance under the First Consulting
25 Agreement been excused.
26            Bharadwaj acknowledged under the First Consulting Agreement that his
27 obligations to maintain the confidentiality of Conversion Logic’s trade secrets “will
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                                            49
                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 50 of 66 Page ID #:50



 1 survive expiration or termination of this Agreement and Contractor’s engagement
 2 with Company . . .”
 3            Bharadwaj further acknowledged under the First Consulting Agreements
 4 that his obligations related to the ownership and assignment of discoveries and
 5 work product “will continue beyond the termination of Contractor’s engagement
 6 by Company with respect to Discoveries and Work product conceived or made by
 7 Contractor along or in concert with others during Contractor’s engagement with
 8 Company in connection with the performance of services for Company, whether
 9 pursuant to this Agreement or otherwise.”
10            Bharadwaj breached the First Consulting Agreement by stealing and
11 misappropriating Conversion Logic’s trade secrets and confidential and proprietary
12 information including both technical information such as proprietary machine-
13 learning techniques, models, and software, as well as non-public sales information.
14            Bharadwaj breached the First Consulting Agreement to the extent that
15 he developed any discoveries and work product during the term of his engagement
16 with Conversion Logic or in connection with the performance of those services for
17 Conversion Logic including: “inventions, discoveries, improvements, and
18 copyrightable works (including, without limitation, any information relating to
19 [Conversion Logic’s] software products, source code, know-how, processes,
20 designs, algorithms, computer programs and routines, formulae, techniques,
21 developments or experimental work, work-in-progress, or business trade secrets),”
22 in any instance where Bharadwaj failed to promptly disclose and assign them to
23 Conversion Logic or otherwise claims them as his own.
24            Bharadwaj’s June 1, 2016 Second Consulting Agreement is a valid and
25 enforceable agreement.
26            Bharadwaj is personally liable for any breach of the Second Consulting
27 Agreement.
28
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                                        COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 51 of 66 Page ID #:51



 1            At all times Conversion Logic performed all obligations required of it
 2 under the Second Consulting Agreement.
 3            At no time has Bharadwaj’s performance under the Second Consulting
 4 Agreement been excused.
 5            Bharadwaj breached the Second Consulting Agreement by stealing and
 6 misappropriating Conversion Logic’s trade secrets and confidential and proprietary
 7 information including both technical information such as proprietary machine-
 8 learning techniques, models, and software, as well as non-public sales information.
 9            Bharadwaj breached the Second Consulting Agreement to the extent that
10 he developed any work product that arose out of or resulted from his performance
11 under the Agreement, including: “any computer software programs,
12 documentation, algorithms, materials, inventions, ideas, written material or other
13 tangible or intangible property,” in any instance where Bharadwaj failed to deliver
14 such work product to Conversion Logic or otherwise claim it has his own.
15            Bharadwaj breached the Second Consulting Agreement by co-founding
16 Measured and offering his services to a company that is “directly competitive to
17 Conversion Logic’s offerings” during the term of the Second Consulting
18 Agreement.
19            Bharadwaj breached the Second Consulting Agreement by soliciting
20 known Conversion Logic employees, including Testwuide and Dean Polley, to be
21 employees of Measured within one year after the term of the Agreement—without
22 obtaining Conversion Logic’s written consent.
23            Bharadwaj also breached the Second Consulting Agreement by soliciting
24 Conversion Logic advisor Magnaghi to become an advisor to Measured, within one
25 year after the term of the Agreement.
26            Bharadwaj breached the Second Consulting Agreement by soliciting
27 customers of Conversion Logic to become customers of Measured, within one year
28 after the term of the Agreement, including but not limited to AARP.
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                                        COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 52 of 66 Page ID #:52



 1             As a direct and proximate result of each of Bharadwaj’s breaches of the
 2 Advisor Agreement and First and Second Consulting Agreements, Conversion
 3 Logic has been harmed in an amount to be proven at trial.
 4
                             FOURTH CAUSE OF ACTION
 5                                Breach of Contract
 6                               (Against Magnaghi)

 7             Conversion Logic incorporates the allegations set forth in paragraphs 1
 8 through 336 as though fully set forth herein.
 9             Magnaghi’s August 26, 2014 Advisory Services Letter Agreement is a
10 valid and enforceable agreement.
11             Magnaghi is personally liable for any breach of his Advisor Agreement.
12             At all times Conversion Logic performed all obligations required of it
13 under his Advisor Agreement.
14             At no time has Magnaghi’s performance under his Advisor Agreement
15 been excused.
16             At no time has Magnaghi attempted to terminate his Advisor Agreement.
17             Magnaghi agreed that he would hold in confidence Conversion Logic’s
18 trade secrets and “will not, directly or indirectly, disclose, furnish, make available
19 or utilize any Confidential Information other than in the course of performing the
20 Services as an Advisor of the Company.”
21             Magnaghi further agreed that any inventions, ideas, developments, or
22 discoveries he developed during the term of his services or within one year
23 following termination are assigned to Conversion Logic.
24             Magnaghi agreed to a no-conflicts provision along with his confidentiality
25 and inventions-assignment obligations not to perform “any services for or
26 otherwise participate[e] in a company developing or commercializing new services,
27 methods or devices that may be competitive with the Company.”
28
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                                          COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 53 of 66 Page ID #:53



 1             Magnaghi breached his Advisor Agreement by stealing and
 2 misappropriating Conversion Logic’s trade secrets and confidential and proprietary
 3 information including both technical information such as proprietary machine-
 4 learning techniques, models, and software, as well as non-public sales information.
 5             Magnaghi breached his Advisor Agreement to the extent that he
 6 developed ideas, inventions, discoveries or other developments relating or resulting
 7 from Conversion Logic’s “actual or anticipated business, work, research or
 8 investigation,” and failed to promptly disclose and assign them to Conversion
 9 Logic or otherwise claims them as his own.
10             Magnaghi breached his Advisor Agreement by providing his services to
11 Measured, a company that directly competes with Conversion Logic and by failing
12 to keep Conversion Logic informed of this conflict of interest.
13             As a direct and proximate result of each of Magnaghi’s breaches of his
14 Advisor Agreement, Conversion Logic has been harmed in an amount to be proven
15 at trial.
16
                             FIFTH CAUSE OF ACTION
17                           Unjust Enrichment/Restitution
18                                (Against Measured)

19             Conversion Logic incorporates the allegations set forth in paragraphs 1
20 through 349 as though fully set forth herein.
21             Measured has been enriched in the form of highly-valuable Conversion
22 Logic confidential and proprietary information including its technical and sales-
23 related trade secrets.
24             Testwuide, Bharadwaj, and Magnaghi were not entitled to these trade
25 secrets, which they unlawfully stole from Conversion Logic.
26             This enrichment has occurred at the expense of Conversion Logic, which
27 spent several years and hundreds of thousands of dollars in the research and
28 development of its product and the machine-learning algorithms and models that
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                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 54 of 66 Page ID #:54



 1 support it, in addition to developing proprietary customer and sales-related
 2 information.
 3             Measured has been unjustly enriched at the expense of Conversion
 4 Logic. Conversion Logic is entitled to restitution in an amount to be established at
 5 trial.
 6
                              SIXTH CAUSE OF ACTION
 7                                     Fraud
 8                               (Against Testwuide)

 9             Conversion Logic re-alleges and incorporates by reference the allegations
10 set forth in paragraphs 1 through 354 as though fully set forth herein.
11             Upon his departure from Conversion Logic and for the following seven
12 months, through the course of negotiating the terms of his Separation Agreement,
13 Testwuide represented to Conversion Logic that he was in compliance with the
14 terms of his Confidentiality Agreement.
15             For example, on January 26, 2017, in an email to Baumgart titled “Re:
16 Thank you!” Testwuide represented that he would agree to terms that included a
17 provision “not to solicit any Conversion Logic employees for 1 year.” On or
18 around that date, however, Testwuide had begun soliciting a Conversion Logic
19 advisor, Madan Bharadwaj, to co-found a competing company together with him.
20             Subsequently on, January 27, 2017, Testwuide left Conversion Logic. On
21 or by that date, he took with him Conversion Logic property and trade secrets.
22             On January 30, 2017, in an email to Baumgart, Testwuide represented
23 that he had “been extremely cooperative during this entire separation process.”
24             At no time after that did Testwuide advise Conversion Logic that he had
25 stolen Conversion Logic property and trade secrets, in direct violation of this
26 Confidentiality Agreement.
27             At least by March 13, 2019 Testwuide had founded a competing
28 company, Measured.
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                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 55 of 66 Page ID #:55



 1             At no time after that did Testwuide advise Conversion Logic that he had
 2 founded a directly competing company, in direct violation of this Confidentiality
 3 Agreement. Instead, Testwuide intentionally maintained his competing company in
 4 stealth mode.
 5             From June 2017 through August 2017, Testwuide negotiated a
 6 Separation Agreement with Conversion Logic. In these negotiations, Testwuide
 7 did not reveal and continued to conceal that he had stolen Conversion Logic
 8 property and trade secrets, had already founded a competing company using that
 9 stolen information, and solicited a known Conversion Logic advisor to co-found
10 that directly competing company together with him.
11             Testwuide’s additional misrepresentations include a statement in an
12 email dated August 11, 2017, titled “Thoughts on Next Steps,” in which
13 Testwuide represented that he desired to be a professional ally to Conversion
14 Logic.
15             Testwuide also falsely stated in that same email that both he and
16 Bharadwaj would be ambassadors for and support Conversion Logic, stating: “I do
17 think Madan and I can help, if nothing more as brand ambassadors eyes/ears in the
18 market.”
19             As set forth in detail herein, Testwuide’s representations, including
20 purporting to negotiate in good faith, were false.
21             Within the approximately one month of his departure from Conversion
22 Logic, Testwuide had stolen Conversion Logic trade secret information, returned
23 his company laptop only after deleting all Conversion Logic’s trade secrets
24 thereon, destroying evidence of his theft, co-founded a directly competing
25 company, Measured, used Conversion Logic’s trade secrets to support Measured,
26 and solicited Conversion Logic advisor and consultant Bharadwaj to co-found
27 Measured with him.
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                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 56 of 66 Page ID #:56



 1             Testwuide intended to keep his theft, improper solicitation, and other
 2 offenses secret from Conversion Logic, including by refusing to return his
 3 company-issued laptop in its ordinary condition (which could have been subject to
 4 forensic analysis), returning a wiped-clean laptop instead, and by maintaining
 5 Measured in “stealth” mode.
 6             Testwuide intended for Conversion Logic to rely on his representations
 7 that he was in compliance with the terms of his Confidentiality Agreement while
 8 negotiating the terms of his Separation Agreement, the terms of which put
 9 Testwuide in a significantly more advantageous financial position.
10             Conversion Logic reasonably relied on Testwuide’s misrepresentations
11 when it agreed to the terms of the Separation Agreement including 1) the
12 forgiveness of Testwuide’s loan principal and interest, and 2) the acceleration and
13 grant of certain stock options.
14             Conversion Logic’s reliance on Testwuide’s misrepresentation was the
15 sole cause of Conversion Logic’s harm.
16
                            SEVENTH CAUSE OF ACTION
17                                 Concealment
18                              (Against Testwuide)

19             Conversion Logic re-alleges and incorporates by reference the allegations
20 set forth in paragraphs 1 through 371 as though fully set forth herein.
21             Conversion Logic and Testwuide were in a fiduciary relationship,
22 including because Testwuide was a former officer of the company and because both
23 parties were negotiating Testwuide’s Separation Agreement.
24             Testwuide intentionally failed to disclose certain facts to Conversion
25 Logic; namely, that he had stolen its trade secrets, founded a directly competing
26 company, and improperly solicited a known Conversion Logic advisor to do so
27 together with him.
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                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 57 of 66 Page ID #:57



 1             Testwuide intentionally kept this information secret including by not
 2 disclosing it and by wiping his company-issued laptop before returning it, thereby
 3 preventing forensic analysis to evaluate Testwuide’s theft of Conversion Logic
 4 trade secrets and other illicit acts. Testwuide also kept this information secret by
 5 maintaining his new company in stealth mode.
 6             Testwuide intended to deceive Conversion Logic by concealing these
 7 facts.
 8             Testwuide knew that this information was material to Conversion Logic,
 9 not only in the course of negotiating his Separation Agreement but in seeking
10 immediate recourse against Testwuide, Bharadwaj, and Measured. In an email
11 dated August 24, 2017, he sought to induce Conversion Logic to release and waive
12 all claims against him.
13             Conversion Logic did not know of any of these concealed facts.
14             Had this concealed information been disclosed, Conversion Logic
15 reasonably would have behaved differently.
16             Conversion Logic was harmed by this concealment.
17             Testwuide’s conduct was a substantial factor in causing Conversion
18 Logic harm, resulting in damages in an amount to be determined at trial.
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                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 58 of 66 Page ID #:58



 1                           EIGHTH CAUSE OF ACTION
 2                                   Conversion
                                 (Against Testwuide)
 3
 4             Conversion Logic re-alleges and incorporates by reference the allegations
 5 set forth in paragraphs 1 through 381 as though fully set forth herein.
 6             Conversion Logic has rightful ownership over and a right to possess:
 7 a) all amounts loaned and granted to Testwuide; b) all stock options granted to
 8 Testwuide; c) Conversion Logic’s computer it had issued to Testwuide to use in
 9 the scope of his employment; d) the information and data stored on the computer it
10 had issued to Testwuide to use in the scope of his employment; and e) Conversion
11 Logic’s proprietary information, which Testwuide could have accessed using this
12 computer, including any ideas, discoveries, or, work product developed by
13 Testwuide during the course of his employment at Conversion Logic and the
14 following year.
15             Testwuide intentionally and substantially interfered with Conversion
16 Logic’s possession of this property when he failed to return his company-issued
17 computer; stole Conversion Logic proprietary ideas, discoveries, and work
18 product; withheld information about his directly competing company in securing
19 forgiveness of a $260,000 loan from Conversion Logic; and withheld the same in
20 securing acceleration and purchase of 1,375,000 shares of common stock in
21 Conversion Logic.
22             Conversion Logic did not consent to Testwuide’s actions and was
23 dispossessed of its right to the exclusive use and possession of each of the items
24 identified above.
25             Testwuide’s actions were the sole cause of Conversion Logic’s harm
26 resulting in damages in an amount to be determined at trial.
27             Testwuide’s tortious conduct was willful and malicious, warranting an
28 award of punitive damages in addition to the full value of the converted property.
                                            58
                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 59 of 66 Page ID #:59



 1                            NINTH CAUSE OF ACTION
 2                                   Conversion
                                 (Against Bharadwaj)
 3
 4             Conversion Logic re-alleges and incorporates by reference the allegations
 5 set forth in paragraphs 1 through 387 as though fully set forth herein.
 6             Conversion Logic has rightful ownership over and a right to possess any
 7 ideas, discoveries, and work product developed by Bharadwaj during the course
 8 and arising out of or resulting from his advisor engagement with Conversion Logic
 9 and his consulting engagements with Conversion Logic.
10             Bharadwaj intentionally and substantially interfered with Conversion
11 Logic’s possession of this property when he stole Conversion Logic’s proprietary,
12 ideas, discoveries, and work product he developed in connection with his advisor
13 and consultant services for Conversion Logic.
14             Conversion Logic did not consent to Bharadwaj’s actions and was
15 dispossessed of its right to the exclusive use and possession of these ideas,
16 discoveries, and work product.
17             Bharadwaj’s actions were the sole cause of Conversion Logic’s harm
18 resulting in damages in an amount to be determined at trial.
19             Bharadwaj’s tortious conduct was willful and malicious, warranting an
20 award of punitive damages in addition to the full value of the converted property.
21
                              TENTH CAUSE OF ACTION
22                                  Conversion
23                               (Against Magnaghi)

24             Conversion Logic re-alleges and incorporates by reference the allegations
25 set forth in paragraphs 1 through 393 as though fully set forth herein.
26             Conversion Logic has rightful ownership over and a right to possess any
27 ideas, discoveries, and work product developed by Magnaghi during the course and
28 arising out of or resulting from his advisor engagement with Conversion Logic.
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                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 60 of 66 Page ID #:60



 1             Magnaghi intentionally and substantially interfered with Conversion
 2 Logic’s possession of this property when he stole Conversion Logic’s proprietary
 3 ideas, discoveries, and work product he developed in connection with his advisor
 4 and consultant services for Conversion Logic.
 5             Conversion Logic did not consent to Magnaghi’s actions and was
 6 dispossessed of its right to the exclusive use and possession of these ideas,
 7 discoveries, and work product.
 8             Magnaghi’s actions were the sole cause of Conversion Logic’s harm
 9 resulting in damages in an amount to be determined at trial.
10             Magnaghi’s tortious conduct was willful and malicious, warranting an
11 award of punitive damages in addition to the full value of the converted property.
12
                          ELEVENTH CAUSE OF ACTION
13              Intentional Interference with a Contractual Relationship
14                              (Against All Defendants)

15             Conversion Logic incorporates the allegations set forth in paragraphs 1
16 through 399 as though fully set forth herein.
17             Conversion Logic had a valid and binding contract with AARP, reflected
18 in the AARP Master Services Agreement. Conversion Logic also had multiple valid
19 and binding contracts with AARP in the form of Sales Orders under the AARP
20 Master Services Agreement.
21             The term of the AARP Master Services Agreement was open-ended and
22 not terminated by Conversion Logic.
23             Testwuide, Bharadwaj, and Magnaghi, and thus Measured, knew of the
24 AARP Master Services Agreement. Testwuide had direct knowledge of the terms
25 of the AARP Master Services Agreement because he personally executed the
26 agreement on Conversion Logic’s behalf, along with additional Sales Orders.
27             Defendants prevented Conversion Logic’s performance of the AARP
28 Master Services Agreement by soliciting AARP to become a customer of
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                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 61 of 66 Page ID #:61



 1 Measured. Defendants relied on stolen trade secrets from Conversion Logic in
 2 order to solicit AARP to become a customer of Measured. Additionally, Testwuide
 3 and Bharadwaj each violated the terms of their respective agreements with
 4 Conversion Logic by soliciting a known customer of Conversion Logic.
 5            Defendants intended to disrupt the contractual relationship between
 6 Conversion Logic and AARP in order to steal a prominent customer from
 7 Conversion Logic to support their new company.
 8            Conversion Logic was harmed by this disruption, including the loss of
 9 business of AARP.
10            Defendant’s conduct was a substantial factor in causing Conversion
11 Logic harm, resulting in damages in an amount to be determined at trial.
12
                           TWELFTH CAUSE OF ACTION
13          Intentional Interference with Prospective Economic Advantage
14                             (Against All Defendants)
15            Conversion Logic incorporates the allegations set forth in paragraphs 1
16 through 407 as though fully set forth herein.
17            Conversion Logic was in an ongoing economic relationship with AARP,
18 reflected in the AARP Master Service Agreement and multiple Sales Orders under
19 that Agreement. Conversion Logic’s economic relationship with AARP would have
20 resulted in an economic benefit to Conversion Logic.
21            Defendants knew of the economic relationship between Conversion
22 Logic and AARP.
23            Defendants interfered with the economic relationship between
24 Conversion Logic and AARP by soliciting AARP to become a customer of
25 Measured. Defendants relied on stolen trade secrets from Conversion Logic in
26 order to solicit AARP to become a customer of Measured. Additionally, Testwuide
27 and Bharadwaj each violated the terms of their respective agreements with
28 Conversion Logic by soliciting a known customer of Conversion Logic.
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                                        COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 62 of 66 Page ID #:62



 1             Defendants intended to disrupt the economic relationship between
 2 Conversion Logic and AARP in order to steal a prominent customer from
 3 Conversion Logic to support their new company.
 4             Conversion Logic was harmed by this disruption, including the loss of
 5 business of AARP.
 6             Defendant’s conduct was a substantial factor in causing Conversion
 7 Logic harm, resulting in damages in an amount to be determined at trial.
 8             In addition, Conversion Logic has an economic relationship with its
 9 investors and potential investors. In these relationships, if Conversion Logic can
10 convince these investors and potential investors of the continued growth and
11 success of the company, Conversion Logic stands to gain additional funding.
12             Testwuide, as a named founder, former CEO, and President of
13 Conversion Logic, is personally aware of the relationships Conversion Logic has
14 with its initial investors and is aware of other relationships Conversion Logic has
15 with potential investors.
16             Testwuide has intentionally engaged in making inaccurate disparaging
17 comments to Conversion Logic’s potential investors, in direct contravention of the
18 terms of his Separation Agreement. Testwuide has sent unsolicited emails to
19 Conversion Logic investors and potential investors, including Clark Landry, in
20 order to make these disparaging and damaging comments.
21             By engaging in this conduct, Testwuide has intended to disrupt the
22 relationships that Conversion Logic has with its investors and potential investors.
23             Conversion Logic’s economic relationship with its investors and
24 potential investors has been harmed as a result and Testwuide’s conduct was a
25 substantial factor in causing that harm.
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                                         COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 63 of 66 Page ID #:63



 1                         THIRTEENTH CAUSE OF ACTION
 2                             Breach of Fiduciary Duty
                                 (Against Testwuide)
 3
 4             Conversion Logic incorporates the allegations set forth in paragraphs 1
 5 through 419 as though fully set forth herein.
 6             Testwuide was CEO and President of Conversion Logic and was
 7 obligated to act on behalf of Conversion Logic, including safeguarding the
 8 confidential, sensitive, and proprietary information that he received during the
 9 course of his duties.
10             Testwuide owed a fiduciary duty of good faith in dealing with
11 Conversion Logic.
12             When Testwuide stole Conversion Logic’s confidential and proprietary
13 information; destroyed evidence of this by wiping his company-issued computer;
14 co-founded a directly competing company in secret; solicited employees,
15 customers and advisors while at Conversion Logic; made disparaging remarks
16 about Conversion Logic to investors and customers; and when he sought to obtain
17 confidential financial information about Conversion Logic for his own competitive
18 advantage, Testwuide failed to act in accord with his fiduciary duty of good faith in
19 dealing with Conversion Logic.
20             Testwuide’s actions were the sole cause of Conversion Logic’s harm,
21 loss of data and information, loss of funds, loss of shares, loss of customers, loss of
22 goodwill, and damages in an amount to be determined at trial.
23                                   RELIEF REQUESTED
24        Plaintiff Conversion Logic, Inc. requests that the Court enter judgment in its
25 favor against Defendants Measured, Inc., Trevor Testwuide, Madan Bharadwaj,
26 and Antonio Magnaghi joint and severally on all of Conversion Logic’s causes of
27 action as follows:
28        a.   An order and permanent injunction prohibiting each Defendant from
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                                          COMPLAINT
 Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 64 of 66 Page ID #:64



 1          utilizing any trade secret information obtained from Conversion Logic in
 2          any way;
 3     b.   An order and permanent injunction prohibiting each Defendant from
 4          wrongfully interfering with Conversion Logic’s contracts and economic
 5          relationships with its customers identified in Conversion Logic’s stolen
 6          and confidential sales records;
 7     c.   Restitution in an amount to be determined at trial;
 8     d.   Rescission of Testwuide’s Separation Agreement;
 9     e.   Compensatory damages in an amount to be determined at trial;
10     f.   Punitive damages;
11     g.   Treble damages for willful and malicious misappropriation of trade
12          secrets;
13     h.   Punitive damages for willful and malicious misappropriation of trade
14          secrets;
15     i.   Attorney’s fees for willful and malicious misappropriation of trade
16          secrets;
17     j.   Disgorgement of all amounts paid over and above the amounts owed to
18          Defendant Testwuide, including the forgiveness of a loan and the
19          issuance and acceleration of stock options; and
20     k.   Any other relief as the Court deems appropriate.
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                                      COMPLAINT
 Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 65 of 66 Page ID #:65



 1 Dated: June 25, 2019              Respectfully submitted,
 2                                   Newman Du Wors LLP
 3
 4
 5                                   Derek A. Newman, State Bar No. 190467
                                     Sarah L. Forney, State Bar No. 254769
 6
                                     100 Wilshire Blvd., Suite 700
 7                                   Santa Monica, CA 90401
 8                                   Telephone:             (310) 359-8200
                                     Facsimile:              (310) 359-8190
 9                                   Email:            dn@newmanlaw.com
10                                                      sf@newmanlaw.com
11                                   Counsel for Plaintiff
12                                   Conversion Logic, Inc.

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                                   COMPLAINT
  Case 2:19-cv-05546-ODW-FFM Document 1 Filed 06/25/19 Page 66 of 66 Page ID #:66



 1                                   JURY DEMAND

 2       Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
 3 Conversion Logic, Inc. demands a trial by jury of all issues presented in this
 4 Complaint which are so triable.
 5
 6 Dated: June 25, 2019                    Respectfully submitted,
 7                                         Newman Du Wors LLP
 8
 9
10                                         Derek A. Newman, State Bar No. 190467
                                           Sarah L. Forney, State Bar No. 254769
11                                         100 Wilshire Blvd., Suite 700
12                                         Santa Monica, CA 90401
                                           Telephone:             (310) 359-8200
13
                                           Facsimile:              (310) 359-8190
14                                         Email:            dn@newmanlaw.com
15                                                            sf@newmanlaw.com

16                                         Counsel for Plaintiff
17                                         Conversion Logic, Inc.

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